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             Plaintiffthe U nited States ofA m eriea t?x rel.K alynda K .G onzales Stokes,Ph.D .

   ($tRe1ator''),byandthroughRelator'sattorneys,RobertW .SadowskiPLLC,TheJosephsLaw
   Firm ,and Jonathan S.M inick P.A .allegesforhercom plaintasfollow s:

                         PR ELIM IN A RY ST ATEM EN T A ND NA TUR E O F TH E A CT IO N

                       Thisisa civilaction broughtby Relator,Kalynda K .G onzalesStokes,PhD ,on her

   ownbehalfandonbehalfoftheUnited StatesofAmerica(''united States''),againstDefendants,
   FloridalnternationalUniversity (ttFIU'*),TomâsR.Guilarte,PhD tûtfluilarte''l,Kenneth Furton,
   PIA.D.,(ûtFu14on'')!'AndresGil,Ph.D.s(:ûGil'')5JenniferDziedzic(bKllziedzic''),andChangwonYoo,
   PIA.D.(ttYoo'')(collectivelytûllefendants'')undertlzeFalseClaimsActs31U.S.C.jj3729c/seq.
   (thetûFCA''),to recoverdamagessustained by,and penaltiesowedtopthe United Statesasthe
   result ofD efendants having know ingly presented or caused to be presented to the United States

   false claim sforthe paym entofresearch grantfunds disbursed,in excessofthe am ountsto which

   Defendants w ere law fully entitled,from 2009 through the present,as m ore specifically detailed

   inh'a. lnaddition,Relatorallegesaclaim forretaliationunder31U.S.C.j'3730(14)andFlorida
   State law for hostile w ork environm ent, harassm ent and discrim ination and w histleblow er

   retaliation.

                       Public health is ûkthe science ofprotecting and im proving the health ofpeople and

   their comm unities''(kkW hat is Public Health'f Center for Disease Control,CDCII. M edical
   research contributes to the betterm entofsociety by providing m edicalinterventions,treatm ents,

   andreprievefrom deadlydiseases.TheUnitedStatesgovernment(thettGovernmenf'),therefore,
   fundsm ostofthem edicalresearch in thiscountry through federalgrants. Because public funding

   is lim ited,research grants are highly com petitive and are based on a strict setof criteria.Only



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   researchersw ith the m ostdeserving studies receive funding. A funded researcher is obligated to

   spend these fundsresponsibly and carl'y outthe studiesin an ethicalm anner.

                  The D efkndantshave abused theirobligation to aid the public in progressing tow ard

   a healthier and safer society by subm itting a false and tkaudulentgrantapplication to the U nited

   States to obtain over one m illion dollars in paym ents over a three-year period. The National

   lnstituteofEnvironmentalHealthSciences(tûNlEHS''),asubdivisionwithintheNationallnstitutes
   ofHealth (ûtNlH''),fundedthisgrantbeginninginApril2018.UnbeknownsttotheGovernment,
   the D efendantsknow ingly used false data and flaw ed experim entaldesign in theirgrantproposalm

   introducing m ultiple detrim entalconfounders into their proposed studies. The D efendants also

   intentionally proposed an exaggerated budgetfortheir grantstudies. A fter Septem ber2018,the

   Defendants hid and m inim ized the extentofG uilarte'sw rongdoing.

                  The Defendants know ingly m ade false.m isleading,and fraudulent claim s in the

   grantproposalthrough selective and circum stantialreporting ofprevious and prelim inary results

   andtheirsignificanceconcerninganimal(monkey)demographicsandexperimentaldesign.They
   relied upon the factthatvirtually nobody would know the true details ofthis particularresearch

   project. The Defendants also made numerous false certifications,including not fostering a
   research environm entthatdiscourages m isconductand notprotecting N IH funds from m isuse.

                  The fraudulentactivity w asorganized by G uilarte,carried outby Dziedzic and Yoo,

   and concealed by G iland Furton. The scope is far reaching,partly because G uilarte,asa D ean of

   Public Health and SocialW ork,runsoneofthe largestlaboratoriesatF1U thatservesas a research

   hub for scientists at the University and other institutions. Furtherm ore,G uilarte's actions over

   tim e and others' accounts have revealed his system ic, patterned research m isconduct while at

   Jolm s HopkinsU niversity,Colum bia University-and currently,FIU .
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                           The D efendants'spartieularly G uilarte and D ziedzic,research m iseondud revealed

   itself to Relatorovera five-year period. D uring thistim e,G uilal'te and D ziedzic authored m any

   scientific publicationsthatdisplay questionable results and conclusions from studies funded by

   public grants. These publications were relied upon by G uilarte in obtaining furthergrantawards

   in the tens ofm illions ofdollars.

                           Relator's first attem pt to repol't G uilarte's research m isconduct and abusive

   supervision to the U niversity w as m ade in the Fall20l7. The FlU om budsperson atthe tim e,D r.

   Rebecca Friedm an,was negligentand unresponsive. A s such.Relatornever had the opportunity

   to infonn D r.Friedm an ofher concerns.

                           Almostayearlater,Relatorinformed a newly appointed F1U ombudsperson,Dr.

   W ilson,ofthe dire situation w ith Guilarte asw ellasthe hostile and toxic w ork environm ent. D r.

   W ilson notified Defendants,Furton and G il.

                           ln Septem ber 2018,w hile Relator w as on FM LAZ m edical leave due to stress-

   induced illness from G uilarte'sretaliatory behaviorand genderharassm ent,Relatoragain reported

   Guilarte's research m isconduct to FlU 's Oftice of Research and Econom ic Developm ent

   (itORED'')Department.
               10.         Relatorreported D efendants'fraud and research m isconductto itensure funding is

   awarded to responsibleresearch''and to ttprotectthe public'strustin science''(NIH'sOftice of
   Research lntegrity,NIH-ORI).3
                           N um erous pieces of evidence such as additional grant applications, anim al and

   method protocols,experimentaldesign,and study data/resultsrelated to Relator'sprojectwere
   kepthidden by the D efendants. Thus,Relatorw as lim ited in the evidenee she eould provide in


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   thisfiling. N evertheless,Relatorprovided a w ealth ofinform ation dem onstrating the Defendants'

   intentional, knowingly, and reckless actions leading to fraud, fabrication, falsifscation, and

   research m isconductofN ll-l-funded research.

                  F1U 's Policy on research m isconductallegations required G il,as Vice Presidentof

   O RED ,to determ ine whetheran inquil'y is w arranted w ithin 10 days. G ilstalled any ttinquiry''or

   investigation into the allegations for 8 m onths, during w hich tim ee the D efendants secured

   additional federal grant funding, w hile continuing to m ake false research claim s in scientitic

   publications,conference abstracts,and m edia reports. ln addition.Relatorw as fired from FIU.

           l3.    FIU 'sinternalinquiry cleared Guilarte ofresearch m isconductin June 2019,halting

   a full,independentinvestigation into hishighly questionable ethicalbehaviorasa federally funded

   researcher.

           14.    ltisunknow n ifthe U niversity has notitied the G overnm ent.

          15.     The Defendants have enabled G uilarte to continue his patterned behavior of

   research m isconduct at their U niversity, as well as his abusive supervision and gender

   harassm ent/discrim ination ofhisstaff,faculty,and laboratory m em bers. The negative im pacts of

   his m iseonductwillcontinue to worsen as his research continues to be cited and spur other

   seientiststo investin futile studies. Additionally,m ore federally funded researeh w illbe im peded

   by hism isconduct,bullying,and retaliatory behaviortoward his laboratory m em bers.resulting in

   a consistenthigh turnoverofem ployees/trainees.

                               II.     JIJRISD IC TIO N A N D V EN IIE
          16. ThisCourthasjurisdictionovertheclaimsbroughtundertheFCA pursuantto 31
   U.S.C.j3730(b)(1),28U.S.C.jj1331,1345,and 1367.
          17. VenueliesinthisDistrictpursuantto31U.S.C.jj3732(a)and(b),and 28U.S.C.
   jj1391(b)and1391(c)sbecauseDefendantsareheadquarteredandlocatedinthisDistrict,conduct
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   business in this D istrict,and because m any of the acts com plained of herein occurred in this

   District.

                                           111.   PA R TIES
                                A . Parties and O ther K ey Personnel
          18.     Plaintiffsare the United StatesofAm eriea on behalfofitsagency the United States

   DepartmentofHealthand HumanServices(::HHS'').TheNationallnstitutesofHealth(û:NIH'')
   are a division ofH H S,w hich aw ardsm onetary grantsto scientific researchers and their affiliated

   institutionsto conductpeer-reviewed,approved research studies.

                  Relatorresides in Florida and has personalknow ledge ofthe facts,m aking her an

   originalsource. Relatorhasvoluntarily providedherknowledgeofthefactsin ''good faith''to
   the G overnm ent. Relatorpreviously infonued num erous University officials and filed an official

   complaint of research misconduct against DefendantGuilarte t'GGuilal4e''l to the Office of
   ResearchandEconomic Development(itORED'')atFIU.RelatorholdsaPIA.D.inNeuroscience
   from Em ory University,w here she trained with two ofthe world'sleading prim ate and Parkinson's

   disease researchers atY erkesN ationalPrim ate Center. Relatorm ostrecently held a postdoctoral

   position in the Guilarte laboratory,2.5 yearsatColum bia U niversity asa Provostfellow followed

   by 3yearsatFIU,intheDepartmentofEnvironmentalHealth Sciences(''EHS''). Relatorwasa
   key assetto the Guilarte laboratol'y because ofherunique expertise in non-hum an primate (i.e.,
   monkey)neuroanatomy andcircuitry.tissueprocessing,and microscopy.Relatorwasaprojed
   leaderforthe m anganese prim ate studiesfunded by N lH federalgrants.

          20.     Defendant,Guilarte,residesin Floridaand holdsaPIZ.D.in Environm entalHealth

   from JohnsH opkins University,w here he w as a profbssor for 30 years and recently inducted into

   theirSociety of Scholars. A fterChairofEnvironm entalHealth Sciences atColum bia University

   for tsve years,G uilarte reloeated to FlU in Decem ber 20l6 to take a role as D ean ofthe Robert
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    Stem pel College of Public Health & Social W ork. Guilal'te specializes in neuroim aging and

   neurotoxicology.

                  Defendant,FItJ,is a public 501(3)(c) nonprofit university located in Miami,
   Florida. FlU is classitied asan ûtR 1 DoctoralUniversity -V el'
                                                                 y high research activity''underthe

   Carnegie C lassification of lnstitutions of H igher Education: Kiinstitutions aw arded at least 20

   research/scholarshipdoctoraldegreesandhadatleast$5millionintotalresearchexpenditures(as
   reported through the National Science Foundation (NSF) Higher Education Research &

   Development Survey (HERD)).'' F1U receives federalscientific funding from the National
    ScienceFoundation(NSF)andtheNIH.
                  Defendant,KennethFurtonePIA.D.,(t'Furton'')residesinFloridaandholdsaPII.D.
   Furton is the Provost,Executive V ice President and Chief O perating O fficer at FIU . Furton

   overseesGuilarteand knowsaboutGuilarte'sfraudulentwork and abusivesupervision.

                  Defendant, Andres Gil,PIA.D., (û'Gil''), is Vice President for Research and
   EconomicDevelopment(1ûORED''),DeanoftheUniversityGraduateSchool,PresidentoftheFIU
   Research Foundation and ProfessorofPublic Health.G iloverseesresearch m isconductallegations

   atFIU . G ilalso supervisesG uilarte.

          24.     Defendant,JenniferDziedzic,M Sa(ikllziedzic'')istheGuilartelaboratory m anager
   and has directly reported to G uilarte forover20 years. Dziedzic w aspresentand partook in m any

   ofthe eventsalleged in thiscom plaint. D ziedzic w illcontribute to a portion ofthe grant's studies.

                  Defendant, Changwon Yoo, PIA.D., (:tYoo'') was the Interim Chair of the
   BiostatisticsD epartm entunderthe Stem pelCollege ofPublic H ealth & SocialW ork atFlU atthe

   tim eofthese incidences.Guilarteidentified Y oo asa statisticsconsultantforthe 2017 N ll-l-funded
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   R O l grant. Currently,he resum es the role of A ssociate Professor in the FlU EH S departm ent

   underG uilarte's supervision.

                              B. O ther K ey PlayersA nd R esearehers
                  Stephanie G arcia,M PH,M SIIRM ,isa Research Scientistin the FlU Biostatistics

   D epartm entunderGuilarte'ssupervision. M s.Garcia is also the statisticalcom puting directorand

   REDCaP Administratorforthe BiostatisticsConsulting and Serviee Center(BCSC;previously
   lntegrated Biostatisticsand DataM anagementCenter). M s.Garciahasbeen largely responsible
   fortraining Relatorin statisticalanalysesand provided data quality support.

                  Jay Schneider,PIA.D .,isthe collaboratorand co-principallnvestigator on m any of

    Guilarte'spreviousm anganese-related N 1H grants. Dr.Schneiderisa Professorin the Departm ent

   ofPathology,Anatom y & CellBiology atThom asJefferson U niversity in Philadelphia,PA . D r.

    Schneider's role in Guilarte's research m isconduct is unknow n. He has been forthcom ing to

   Relatorduringtheirdiscussionsaboutthemanganeseprimateproject.
          28.     Christopher Grayson, M BA Sis the D irector of Research lntegrity at FIU . M r.

    Grayson isresponsible form anaging the regulatory requirem ents ofseveralresearch com pliance

   areas. Relatorreported a research m isconduct allegation against Guilal'
                                                                          te in the presence of M r.

   G rayson and an FIU attorney,Liz M arston,in Septem ber2017.

          29.     Kathleen W ilson,M M ,EdM ,EdD ,is a Professor ofV oice,Faculty Fellow ofthe

   O ffice ofthe Provost,and the F1tJOm budsperson,to w hom Relator reported herconcerns about

   G uilarte's research m isconductand abusive supervision in the sum m erof2017. Dr.W ilson tried

   to guide Relator,while stilla Guilal'te lab m em ber,on problem atic dealings w ith Guilarte. D r.

   W ilson confidentially reportsfaculty and staffconcernsto ProvostFurton.

          30.     Suzanna RoseaPII.D.,isthe Founding Associate Provostofthe O ftice to Advance

   W om en,Equity & D iversity and a ProfessorofPsychology and W om en-s Studies atFIU . Relator
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    also reported her concerns to Dr. Rose ahout Guilarte's research m isconduct and abusive
    supervision. Dr.Rosetried to assistRelatorto the bestofherability.

                                        1V .     LEG A L FRA M ESVO R K
                                  A. Tht!FederalFalseClaim sAct(:iFCA'')
                     The FCA provides,in pertinentpart,that:

            any person who -
            (A)knowinglypresents,orcausestobepresentedafalseorfraudulentclaim for
            paym entorapproval'
                              ,
            (B)knowinglymakes,uses,orcausesto bemadeorused.afalserecordor
            statem entm aterialto a false orfraudulentclaim '
                                                            ,
            (C)conspirestocommitaviolation ofsubparagraph(A),(B),(D),(E),(F),or
            (G);
                                                            +        *
            isliable to the United StatesG overnm entfora civilpenalty ofnotlessthan
            $5,500 and notm ore than $1ls000...plus3 timestheam ountofdam ageswhich
            the Governm entsustainsbecause ofthe actofthatperson.

            31U.S.C.j3729)64Fed.Reg.47,099(19994.
                                 B. H H S D efinitions ofFcA -rclated Term s:
                     False certiticationsconstitute false claim sunderthe FCA .

                     HH S defines research m iseondud as:kûfabrication,falsification,or plagiarism in

   proposing,perform ing,orreview ing researeh,or in reporting research results.''

                     For purposes of the FCA , Sifalsification'' is defined as l'm anipulating researeh

   m aterials,equipm ent,orprocesses,or changing orom itting data orresults such thatthe research

   isnotaccurately represented in the research record''(See.93.103Research misconductin 42
   C.F.R.Pal493 Publie Health Service,iûpubliehealth servieepolieieson research misconducf').
                    Forpurposesofthe FCA ,firesearch records''are detined aswtthe record ofdata or

   resultsthatem body the factsresulting from scientific inquiry,including butnotlim ited to,research

   proposals,laboratory records,both physicaland electronic,progress reports,abstracts,theses,oral


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    presentations,internalreports,journalarticles,andanydoeumentsandmaterialsprovidedtoHHS
    or an institutionalofficialby a respondentin the course ofthe research m isconductproceeding''

    (42C.F.R.j93.224).
                  The definition ofékresearch record''also includes t'doeum ents and m aterials that

   em body the faets resulting from the research thatare provided by the respondentatany pointin

   thecourseoftheresearch misconductproceeding''(42C.F.R.j93.224).
          37.     For pum oses of the FC A, the term iiknow ingly'' is defined as tta persons with

   respectto information (i) has actual knowledge of the information'
                                                                    ,(ii) acts in deliberate
    ignoraneeofthetruth orfalsity oftheinform ation'
                                                   ,or(iii)actsin reeklessdisregard ofthetruth or
    falsity oftheinformation.''(31U.S.C.j3729(b)(1)(A)).Noproofofaspecificintenttodefraud
    isrequiredtoshow knowledge.(31U.S.C.j3729(b)(1)(B)).
          38.     Forpum osesofthe FCA,theterm tkclaim ''isdetined asttany requestordemand,

   w hetherundera contractorotherwiseeform oney orproperty and whetherornotthe United States

   hastitletothemoney orproperty,that- ti)ispresentedtoanofficer,employee,oragentofthe
   UnitedStates.''(3lU.S.C.j3729(b)(2)(A)).
          39.     For the purposes of the FCA.the term Eéobligation''is defined as ûûan established

   duty,w hether or not fixed,arising from an express or im plied contractual,grantor-grantee,   or

   licensor-licensee relationship,from a fee-based orsim ilarrelationship,from statute orregulation,

   orfrom theretentionofanyoverpayment.''(31U.S.C.j'3729(b)(3))
          40.     Forthe purposes ofthe FCA,the term :im aterial''is defined as Sthaving a natural

   tendency to intluence,orbecapableofinfluencing,thepaymentorreceiptofmoney orproperty.''

   (31U.S.C.j3729(b)(4)).
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            41.       For the purposes of the FCA ,the term ikapplicability'' refers to ûvallegations of

    research misconductand research m isconductinvolving:(i)ApplicationsorproposalsforPHS
    support for biomedicalor behavioral extramural or intramuralresearch,research training or

    activitiesrelated to thatreseareh orresearch trainingasueh asthe operation oftissue and data banks

    and the dissemination of research information'
                                                 ,(ii) PHS supported biomedicalor behavioral
    extramuralorintramuralreseareh'
                                  ,(iii)PHS supported biomedicalorbehavioralextramuralor
    intramuralresearchtrainingprograms'
                                      ,(iv)PHSsupportedextramuralorintramuralactivitiesthat
    are related to biom edicalorbehavioralresearch orresearch training,such asthe operation oftissue

    and databanksorthedissemination ofresearchinform ation;and(v)Plagiarism ofresearchrecords
    produced in the course of PHS supported research,research training or activities related to that

    researchorresearchtraining.''(42 C.F.R.j93.102(b)(1)).
            42.       Furtherm ore, itapplicability'' also includes Siany research proposed, perform ed,

   review ed,orreported,or any research record generated from thatresearch.regardlessofw hether

    an application orproposalfor PH S funds resulted in a grant,contract,cooperative agreem ent,or

    otherform ofPHSsupport.''(42C.F.R.j93.102(b)(2)).

                                            R ESEA RC.H PRO C ESS O V ER VIF-5V
                                              A . The N IH G rant Processs
            43.       The goalsofN ll-l-supported researeh areto advancethe understanding ofbiological

   system s,im prove the controlofdisease,and enhance health.

                      An N ll-l-appointed study sed ion of external researchers review s each grant

   application assigned by a related N lH institute,such as N IEH S. The volunteer review ers are

   m atched with grantapplieationsrelevantto theirseientitiediseipline orcurrentreseareh areas.



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                                                zps/bt!!l15,
                                                           '
                                                           t6)ç lesl
                                                                   s
                                                                   - 4l7 hlql
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          45.     The grant review ers seore, the researeh grant applieations based on their overall

    impactto reflectthe assessmentofthelikelihood fortheprojectto exertasustained,powerful
    influenceontheresearch fieldts)involved,considering,amongotherpertinentfactors'
                                                                                  .
            * Sicnifscance: information about the         biology of thc grant's proiect.
              inpportanceofgrantstlbiect-researchopportulpities.andlleu'
                                                                       'findings.'I-hegrant
                should address inzportant problenas or critical ban-iers in the l'
                                                                                 ield, :4 strong
                scientific premise tbrtheprojectaand the project-spotentialinAprovenzentso1'
                seientific knourledge.technicalcapability-and/orclinicalpractice    .




            * lnvestigatorts):theprojectdirector01-prineipalinvestigator(P.I.)and anyother
                person-regardlessoftitle orposition,w'ho isresponsible fkll-the design.conduct-
                orreporting ofresearch funded by the NI1-I.01-proposed fklrsueh funding .




            * lnnovation.
                        .something neu'
                                      'o1-inlproved,includingresearch lbrthedeveloplnent
                ofnew technologies,refinelnentofexisting technologies-ordes'
                                                                           eloplnentofnew
                applications forexisting technologies.

            * Approach:a deseription ofthe experim entsthatn.illatldresseach -tspecit'
                                                                                     icgaim ''
                orgrantprojectand a staten-
                                          tentaboutthe project-ssigniticance.place in the
                scientilic lseld-and long-ternlgoals.

            * Environluent: evidence that the scientitic environnzent w ill contribute to the
                probability ofprqiectsuccess. Exaluples are the lab settlp and environnzent.
                institutionalstlpport,and the availability ()fphysicalresoblrees.

                  Reviewers willconsider each ofthe five criteria in the determ ination ofscientific

   and techniealm eritand give a separate score foreaeh. A n application does notneed to be strong

   inallcategoriestobejudged likelytohaveamajorscientificimpact.Forexample,aprojectthat
   by itsnatureisnotinnovativemay beessentialto advance alseld.

                  Three of the grant review ers w ill provide a w ritten sum m ary of strengths,

   w eaknesses,and otherhighlights,along w ith thettim pactscore,''to the grantapplicant.
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           48.      lffunded,grantreeipients are required to provide an annualReseareh Perform ance

   ProgressReport,documenting theirprogress,significantprojectchanges,personnelstatus,and
   plans forthe subsequentbudgetyear. A tinalreportisalso required atthe tim e ofgrantcloseout.

                    lf eonsidered a non-fundable grantproposal,a researeh seientist m ay apply again

   afteraddressing thestudy sectionreviewers'comm entsand concerns.

           50.      Defendantsverified a11data and statem ents in the grantapplication by signing off

   on the grantafterreview ing allapplication details.

                             B. Relator's Role in M anganese-ltelatvd G rants
                    Relatorw as an active partofG uilarte's laboratol'y team from 2013 to 2018.

                    W henRelatorfirstjoinedthelaboratoryatColumbiaUniversity(New York,NY),
   Guilarte wasreceiving on-going funding (04/01/200l - 04/30/2016)from a sueeessfulNlH-

   NIEHS R016 grantapplication using manganese-exposed monkeys:Prqject#:5R01ES010975,
   MoleculartfBehavioralfYèc/.
                             :(fLtyw-fevelAtf?JExposure.Relatorperformednumerousstudies
   funded by this grant.

           53.      Guilarte also received funds on behalf of Relator's studies as a ProvostFellow at

   Colum biaUniversity,which covered her$50,000 annualsalat'y and providedb'extra''fundsforher
   training,conference attendance,and othersupportforheradvancem entinto a futureProfessorship.

   Provostfellows(giventoonly fourotherpostdoctoralscientists)told Relatorthattheiradvisers
   reeeived around an ûtextra''$50.000 ayearfortheirtraining-and the AssistantProvostinformed
   Relator there were plentifulfunds to cover her expenses. Guilarte,how ever- supplied m inim al

   tkextra''fundsto Relatorpim peding herprogress and training.




   BSee Appendix A ,D et-initions.

                                                         16
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           54.     Relator assisted G uilarte w ith tw o R01 grant applicationsto N IH -N IEH S in 2015

   and 2016. She provided grant figures as Guilarte requested. These grant proposals w ere not

   approved forfunding.

                   D uring the spring 2017 atFltJ.G uilarte asked R elatorto assistw ith w riting another

    R01 grantapplication fora summer20l7 submission'
                                                   .Projeet#:R01 E5029344,Cholinergic
    neuron degeneration in m (Il1g(Il1C,
                                       %(? #2(?&/*(?/(JX9//.J?.7 N IH -N IEH S decided to fund this grant
                                                   .




   proposal,starting 01/0 1/20l8 and ending on 03/31/2021. This is tlte Hprim ary Grant''thatwill

   be discussed in this complaint.

                   Priorto the drafting ofthisgrantapplication,Relatorhad com pleted cellscountsof

   nigraldopaminecellsinallgroups(16animals)butthemaleûûnaïvecontrol''monkeys.
           57.     Relatorhad also com pleted hercells counts ofcholinergic neurons in the striatum

   of fem ale naïve controls, ûûam phetam ine-only,'' èùm anganese-only'' and itam phetam ine

   manganese''monkeys(12 animals). Themale'tnaïvecontrols''weremissing from theanalyses
    forreasonsdescribed in the follow ing sections.

                   Relatorprovidedthreefiguresandtexton themethodology'andprelim inaryresults

    forthis grantproposal,as requested by Guilarte.

           59.     Guilarte refused to give Relatora copy ofallfourgrantproposals,even though she

   wastheprojectleadonthemanganesestudies.
                   Relatorw asable to obtain a copy ofthe tûprim ary Grant''from an externalsource

   in the sum m er2018. A fterreview ,the fraud she suspected allalong w as eonfirm ed.

                   Realtoris unsure ofthe contentsofthe otherthree grantapplicationsto the N IH .
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                          C . Processfor Publication in Scientific Journals
           62.    M edical scientific researchers publish their study results to better society by

   providing in-depth know ledge about the underlying m echanism s of disease processes and new

   therapeutic interventions oralternative technologicalinterventions fordiseases and disorders.

                  Onceresearch studiesare eom pleted,the research group subm itsasum m ary oftbeir

   tindingsandtheirsignitkaneetoascientifiejounzaloftheirchoiee.A groupofvolunteerscientists
    with related expertise review and score the m anuscript in a sim ilarm anneras for NIH grants. A

    summ ary of reviewer com ments is given to the authors of the publication, as well as an

   tûacceptance''orbtrejection''ofthepaper.
           64.    Scientific publieations correspond to currency for researchers:a large num ber of

   publieationsimproveone'schanceatreceiving (orm aintaining)anacadem ictenure-track position
    and federalgrantfunding.

           65.    Scientificjournalswithahigherimpactfactoralsoplayarole.Ankbimpactfactor''
   has become an indicator ofa journal's importance within a field.such as neuroscience. lt
   representstheyearly averagenumberofeitationstorecentartielespublished inajournal.Thus,
   researehscientistsstriveforpublicationinjournalswithahigherimpactfactor.Reeentcriticisms
   have broughtattention to the im pactfàctor's bias,lim itations and usefulness.

                       D. Relator's Role in G uilarte'sScientific Publications
                  Relator's only publication during her tim e in the Guilarte laboratory w as a 2015

   review article on the com parisons betw een m anganese-induced parkinsonism and Parkinson's

   disease. G uilarte took firstauthorship,which is atypicalscientific conductofa m entor.

           67.    Guilarte's fraudulent actions prevented Relator from successt-
                                                                               ully publishing her

   grant-funded results as firstauthorofdata-containing papers.



                                                      18
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           68.    Guilarte,therefore,im peded Relatot-sopportunity to obtain N ll-l-funded grantsaas

    wellashercontributionsto the scientific research record.

                     *'1.   R ELA TO R ' S IN TRO DIJCTIO N TO G UILAR TE
           69.    In A ugust2013,Relatorw as indirectly introduced by a colleague to Guilarte about

    apostdoctoralposition inhislaboratoryatColumbiaUniversity(New York,NY).
           70. Guilarte informed Relatoraboutafederally-funded projectin hislaboratory that
    required a monkey expertto proceed:Environmentally induced parkinsonism via metal(i.e.,
    manganese;tiMn'')toxicityinmonkeys.
           71.    Relator hypothesized to G uilal'
                                                 te thata loss ofstriatalcholinergic neuronsand/ora

    significantdysfunction ofthecholinergicsystem asubjectmatterofRelator'sexpertise- may
    occur in his experim ental m odel of m anganese-induced parkinsonism . G uilal'te expressed his

    interestin Relator'shypothesis and expertise-and therefore.offered herthe position.

           72. In November 2013,Relatorjoined the Guilarte laboratof.
                                                                    y for the tbllowing
    guaranteedopportunities:(1)tobetheprojectleadonauniquemodelofenvironmentally-induced
    parkinsonism'
                ,(2)to continue to focusherresearch on herexpertise ofneuroanatomy ofthe
    cholinergicsystemsinmonkeys;(3)tobeanexclusiverecipientofaColumbiaUniversityProvost
    Fellowship (only five postdocs were chosen)thatprovided funding for her salal'yalaboratory
    supplies,training,andwork-relatedtravel'
                                           ,(4)to receiveawûhigherthanaverage''salary ($50,000
    peryear)forapostdoctoralposition;and(5)toworkatan1vyLeagueuniversityrecognizedasa
    CenterofExcellence forParkinson'sdisease research and clinicalcare.

            V 11. ISSIJES O F G UILA RTE 'S ST UD IES O F 51A Nf;,&N I(SIq-INI)t.
                                                                                /f-
                                                                                  .EI)
                                      PA RK IN SO NISM
                  Thepurposeofthegeneralstudywasto (a)determineiftheeffectsofmanganese
    exposure in m onkeys m im ic the behavioralabnorm alities and changes in brain activity like that
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    observed in hum answithm anganese-induced parkinsonism (f.t?.,a syndromewith detk itssim ilar
    to those observed in Parkinson'sdisease),and (b)determinethetypeofbrain cellsthatdie after
    long-tenn manganese (M n)exposure. Humans develop parkinsonism f'
                                                                    rom environmentalor
    occupationalexposure,drugabuse(ephedrone),orviaageneticmutation.
                     The study's resultswould also benet'
                                                        it individuals who suffer from m anganese-

    induced parkinsonism by introducing possible therapeutic interventions, w hich are currently

    lim ited.

           75.       Thisanim alm odelofhuman m anganese-induced parkinsonism willbereferred to

    as itlong-term m anganese exposure in m onkeys,''ûtm anganese-exposed m onkeys,''or ktm onkeys

    exposed long-term to m anganese.''

                     Thefollowingstudieswerefunded by grantapplieationstoNIH-NIEHS:Projects
    5R01 E5010975 and R 01 E5029344.

                                           A . Study H ypotheses
           77. Guilarte'sHypothesis(befbreandafterRelatorjoinedhislaboratoryl:
                   Study 1- Dopam ine:Losscàl-dclpallline-ccnlAlailling (ï.t?.,dopaminergic)neurons
                   in the Substantia Nigra pars ctlmpacta (SNpc) does notoccur in monkeys
                   exposed long-term to lnanganese.

           78. RelatorandGuilarte'sHypothesis(afterRelatorjoinedhislaboratoryl:
                * Study 2 - Cholinergic: Ivoss of acetylcholine-ctlntaining (i.(?., cholinergic)
                   neurons in the striatum and/or othcrbrain regions occurs in m onkeys exposed
                   long-term to m anganese.

                     Relatorw orked on Study 1 tirst,follow ed by concurrenteffortson Study 2.

                     Study 1beganbeforeRelatorjoinedtheGuilartelaboratory,buttheirstudyresults
   were incomplete due to theirlack ofexpertise aboutthe required methods and background for

   studying m onkeys. Relator washired in 2013 to m ove forw ard ''Study l- Dopam ine.''

                                                        2()
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                                B. M onkey G roupsfor Studies 1 and 2
           81. Priorto Relatorjoining theGuilartelaboratory,amonkey cohortof2lmonkeys
    w as tested for the m ost effective dosing of m anganese and tbr m ethod optim ization. Guilarte

    summarizedthesefindingsin 11publicationsinscientificjournalsfrom 2006to2014.
           82. ForRelator'sdirectprojects(Studies 1and 2).the 'ttsrstcohort''consisted of l5
    malemonkeys(AnimallD:M n1- Mn15)composedoffourexperimentalgroups(Table 1):
                 FirstGroup:tw'
                              o lnale naïve controlm onkeys
            * Second Group:fourm ale --anlphetamine-only'-monkeyst--lmagedD')
                 'l-hird G roup:three m ale --lnanganese-only--m onlkeys
                 Fotlrth G roup:lsve lnale -tam phetalnine + nlanganese--nlonkeys

           83.     From 2011to 2015,nineofthe firstcohort15 monkeys(Table 1)wereexposed
    long-term (i.e.,1yearormore)tomanganeseto induceparkinsonism.
           84. The majority ofthe 15 monkeys(13 outofl5,
                                                       'Table 1)underwentbehavioral
   testing(atThomasJeffersonUniversityby Dr.JaySchneider)and brainimaging(ï.c.,functional
    M Rland P.E.T.scansatJohnsHopkinsUniversity by Dr.Dean Wong),exceptthe twotlnaïve
    control''malemonkeys(Mnl3andMnl4).
           85.     DuringtheP.E.T.scans,10 outof15oftheGrsteohortmonkeys(Table 1)were
    exposedtoamphetamine(AM PH),exeeptthetwo'tnaïvecontrol''(M nl3andMn14)andthethree
   ttmanganese-only''monkeys(M n8,Mn10,M l2).
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                                AnimalID      ExperimentalG roup         Sex       FinalAge(years)
                                                     Naïve             Female            8.3
             Naïve Controls                          Naïve             Fenlale
                                                     Naïve             Female            4.0
                                                     N aïve             M ale
                                                     N aïve             M ale
                                                     Naïve              M ale
             Naïve Controls
                                                     N aïve             M ale            6.8
                                  M n13              N aïve             M ale            8.8
                                  M n14              N aïve             M ale            8.7
                                  M nl5        lmaged /IAM PH           Male
                                   Mn2         lmaged /3 AM PH          Male
           Am phetam ine-only
                                   Mn5         lmaged /3AM PH           Male             9.0
                                   M n7        lmaged /3 AM PH          M ale            8.9
                                   M n8         M n/N oA M PH           M ale
            M anganese-only       M n10         M n/N oAM PH            M ale            10.7
                                  M n12         M n/NoAM PH             Male
                                                 Mn/3AMPH               Male
                                   Mn4           Mn /3AMPH              Male
            Am phetam ine +       M n9           M n /2 A M PH          M ale            10.0
             M anganese           M njj          M n /g AM pu           u ale
                                   M n6          M n /4 AM PH           M ale
                                   M n3          M n /4 AM PH           M ale            9.8

      Table 1.DetaiIs ()fthe sexsage,and experilllentalgrotlp ofthe l
                                                                    monkeys used in Relator-s sttldies.
      '
      l-heshadedarearepresentsthel'irstcohortof-l
                                                '
                                                nonkeystbrRelator-slllanganese-illdtleed parkillsollisna
      project(AI'
                IiI'
                   nalID:M n1-5111I5). I'()rthe second cohort purchased-the fklnale -*llêd-
                                                                                          l
                                                                                          -'
                                                                                           te control'-
      l
      '
      nonkeysarerepresentedbyzA.niluall13.l-3.Tl-
                                                leI
                                                  maleQ-nak-
                                                           vecontrol'-I
                                                                      llonkeys(-41)illlalID-
                                                                                           .4-7)are
      the tl1ird cohortofpurchased naollkeys.The l'tut
                                                     ubel-ofatuphtztal'uine cxposurcs during inaaging are
      stated foreach anil-nal.Abbreviations:n-
                                             1anganesepN'lll;am phetal'
                                                                      nine.A M
                                                                             . PH .



           86. Two tkreversal''monkeys (Mn3 and M n6;Table 1) were also included:their
    m anganese expostlre w as stopped forten m onths,and then,they w ere euthanized. The period of
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    no m anganese exposure w asto allow the m onkeysto recoverand determ ine ifthe negative effects

   ofm anganese subsided.

           87.     It is notew orthy to m ention Guilarte's inadequate experim ental design tkom the

    beginning of the m anganese study, which included only tw o z-nai've control''m onkeys.

    standard,aeeeptable num berofanim alsforstatisticalanalysesm ustbe atleastthree anim als.

                       C . Dctrim entalIssues with (luilarte's M onkey Cohorts
                                     D am aged Nlonkey Brain T issue

           88.     The post-m ortem pathologicalstudies,w hich began in 20l3,w ere pedbrm ed by

    Relatorin thebrain tissueofthefourgroupsoffirstcohortmonkeys(Table 1).
           89.     During the early phase ofb:study 1:Dopam ine.''Relatordiscovered the brain tissue

    offourm onkeysfrom the firstcohot'thad been dam aged during the post-m ortem processing. This

    tissuewasunusableforthedopamine(andcholinergic)eellcounts:


                 O ne l'
                       nale %-anzphetam ine-ollly--nAonkey:M n5
             . O nem ale --anxphetaluinc + m anganesc--m onkey:M I11
           90.     Relatordiscovered an additionalthree m onkeyshad inter-m ixed brain hem ispheres,

    resulting in m issing brain sections ofthe striatum region.These m onkeys,in addition to the three

    statedin(87),couldnotbeusedforthecholinergiccellcounts(Study2)inthestriatum '
                                                                                .
             . O ne m ale '-am phetam ine-only''m onkey:NIn15
             . Onc m ale --am phctam ine + m allgallese--m onkcy:Y1119
             * ('
                )ne l'
                     nale --reversal--luonkey.
                                             'Y'
                                               l1)6

                   ln sum m ary,three m onkeys could not be used for ûtstudy 1 - Dopam ine''and

    seven m onkeys forûstudy 2 - Cholinergic.''

           92. Furthermore,Study 1wasleftwith only oneiinaïvecontrolf'monkey (Mn13)and
    Study 2 with none.

                                                       23
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                    ii. Fem ale vs.s'
                                    lale t:N
                                           ' a-
                                              fve C ontrol''Tissue for Studies 1 and 2

                    B ecause of the lack of b*naïve control''tissue,G uilarte approved the purchase of

    four tûnaïve control''male animals (in 2015),representing the ktsecond cohort''ofmonkeys.
    Guilarte, however, insisted these control monkeys were only to be used for ttstudy

    Cholinergic''

           94.      Relator needed m ore ttnaïve control''m onkeys for tustudy 1- Dopam ine''as well.

    Guilarte said itw asnotnecessary. W ith greatresistance, G uilarte eventually gave in to Relator's

    requeststo use these fournew tûnaïve control''m onkeys forboth studies.

           95.      In January 2017,Relatordiscovered another issue:four ofthe m onkeysthatwere

    believed to be m ale m onkeys w ere in factfem ale m onkeys,and the com pany eould notprovide

    onemonkey'sdemographics,resulting in only threeusable forpublication.

           96.      G uilal'te had Relatorpurchase a 'tthird cohort''of m ale 'inaïve control''m onkeys

    (AnimallD:4-7),insisting again thatthis brain tissue eould only be used fol'ttstudy 2 -
    Cholinergic''analyses,because û%study 1- D opam ine''had tûcontrol''m onkeysforitsanalyses.

           97.      For five m onths untilG uilarte conceded,Relatorpleaded w ith G uilarte to allow

   the use of this third cohort' tissue for her dopam ine cell counts that had only one m ale klnaïve

    control''monkey (M n13).
                    A lthough Relator had com pleted dopam ine cellcounts in 19 m onkeys,Guilarte

   insisted Relatorpurchase a ttfourth cohort''ofm ale tûnaïve control''m onkeys,consisting ofbrain

   tissuefrom 7m onkeys.Thereasonsforthispurchasewillbeexplained in Section X(A).
           99.      Guilal'
                          te stated the ktfourth cohort''waspurchased specifically forthe dopam inecell

   counts,unliketheprevioustw o cohorts.The subsequentdopam inecellcountsw ould be perform ed

   in 26 m onkeys,an unusually large num berofm onkeys forpathology studies.
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              V llI. FA LSIFICA TIO N S IN STU DY 1:DO PA M INE C ELL CO U N TS
            100. Relator'sGtstudy 1- Dopamine''projectwastodetermineiflong-term manganese
    exposure resulted in detrim ental changes to the dopam ine system , a brain region that loses

    dopam ine cellsin Parkinson's disease.

            101. Thisdopaminergicprojectwasfunded by Guilarte'slong-standing NIH-NIEHS
    R01manganesegrantunderProjeet/:5R0lE5010975.MolecularttBchavioral#./#c/k
                                                                           s(?fLow-
    LevelMnExposure,andindirectlybythecurrentçkprimary Grant''(R01E5029344).ûtlndirectly''
    refers to the fact G uilarte used m oney from the cholinergic ttprim ar.y Grant'' to purchase

    experim entalsupplies for ûtstudy l - D opam ine''and fully coverRelator's salary as she w orked

    onthisproject.
            102. Guilarte displayed fraudulent aetivity and researeh m iseonduet m onths prior to

    subm ission of the tûprim ary G rant,'' m anipulating Relator-s com pleted data, progress and

    prelim inary resultsin the grantproposal. A fterthe tkprim ary G rant-'subm ission to N IH-N IEH S in

    July 2017,G uilarte's fraudulentad ivities increased related to the dopam ine studiesealong with

    hisretaliation and m istreatm entofRelator.

                              A . T otalDopam ine C.t!llCounts by Relator
                                               i. Sum m ary

            103. From 20l5 to 20 18,Relatorcom pleted foursetsof cellcounts ofSNpc dopam ine

    neuronsand w assupposed to perform a fifthpbuthertissue w ascontam inated by anotherG uilal'te

    laboratoly m em ber. The duplication ofresults isnotstandard forresearch studies.

           l04. G uilarte wassearching fordatato uphold hisdopam inehypothesis,and Relatorw as

    fighting againstG uilarte'sunethicalapproach to m anipulate the data.

           105. Contrary to typicalresearch studies,the num berof-'naïve control''m onkeysvaried

    greatly betw een the five groups of cell counts, m aking it difficult to m ake solid conclusions.
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    G uilarte's experim entaldesign w as inadequate for an in-depth m ethod sueh as stereologiealeell

    counts,unbeknownsttoRelatorwhen shejoinedtheGuilal'telaboratory.
           106. The following values represent the percentage of the naïve control cell counts,

    representing either a decrease orincrease in dopam ine cellnum berforeach group.

           107. W hentheiknaïvecontrol''monkeysonlyincludedmalemonkeys(thirdandfourth
    eounts),aconsistentdecreasein thenumberofdopamineeellsbetween ûtM anganese-only''and
    tlnaïve control''m onkeys wasobserved.

           108. The final fourth cell count dem onstrated the m ost solid of allthe counts, as it

    com pared a11 the available m ale m onkeys and used the m ost appropriate counting schem e for

    dopam ine cellsin prim ates.

           109. Guilarte stilldeclared to only publish data thatom itted the four ktnaïve control''

    m onkeys. Relatorrefused to publish unethically to appease hisneed to prove hishypothesis.

           l10. Noneofthesedatawereeverpublished inascientiticjournal.
                              ii. Findingsfrom Dopam ine C ellC ounts

           111. Forthefirstcounts(2015),Relatorcompleteddopaminecelleountsinnineofthe
    éttirstcohort's''monkeys.Thisexperimentcontained only one'tna'
                                                                 fvecontrol''monkey(Mn13).
    The percentage change in cellnum bercould notbe calculated using one ttna'
                                                                             fve control''m onkey.

            . Nah'econtrol:onemale monkey (M n13)
                Almphetanpine-onls':threelnale monkeys(M n15.N1n2.N,
                                                                   1n7)
                Amphetanzine + (
                               M anganese:fiveInalel'
                                                    nonkeys(N
                                                            '1n4.Nz
                                                                  ln9.5.'
                                                                        1nl1-M
                                                                             ' n3.N1n6)
                  Forthesecond counts(2016),Relatorcompleted dopaminecellcountsin 15 ofthe
   ûtfirstand second cohort's''monkeys. This experim entcontained four'inaïve control''monkeys

   (AnimalID:1-3),whichwerefoundtobefemaleayearlater,and 1malek'naïveeontrol''monkey
   (&In13).
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            . N ah'e control:three feluale (7954-8074.-1-002)and one I
                                                                     m ale (5,
                                                                             11)13)luonkey
            . A m phetam ine-onlv:sam e three m ale m onkeys-
                                                            '20:% increasc

            . M ankzancse-onllr:threem alc nlonkeys(M n8-M n1().N'ln12-1)7fl
                                                                           /oincrease
            . A lnphetam ille + M anganese:sam e t'ive m ale m onkeys-
                                                                     '35f% increase

            . Guilarte insisted(early 2017)Relatoronaitdopamine cellcountsof-the lknAale
               -tnak-
                    ve control'' n'
                                  lonkeys listed above- resulting in 12 total lnonkeys 1-
                                                                                        01-the
               lnublication.Ml'he analyses01-
                                            11),
                                               'colltained one I
                                                               '
                                                               nale -tnai-
                                                                         ve control'-lnonkey from
               thei-fsrstcohol4--again(N1n13).'l-hepel-
                                                      centagechange incellnunabercouId not
               becalculatedNvith one-tnai-
                                         vecontrol'-lmonkey.

                 Forthethirdcounts(mid2017),Relatorcompleteddopaminecellcountsinthe4
   m ale tçnaïve control'' m onkeys of the tithird cohort.'' Guilarte added these data to Relator's

   previousdopam ine cellcounts(with femalesexcluded)from 2016,totaling 16 monkeys. Once
   the propercontrolsw ere included,m anganese-induced dopam ine celllossbecam e apparent.

            . Nahzeû'ontrol:onelnale(M n13)and tburlnaleImonlkeys(4-7)
            * A m phetanzine-onls,':saluethree nlale luonkeys;236:,loss
            . M anjlanese-only:salne three m ale nlonkeys;356% Ioss
            * A m phetam ine + M anganese:san'
                                             le five nlale luonkeys'
                                                                   ,66X,loss

          l14. Forthefourth counts(late2017),Relatorcompleteddopaminecellcountsin 16
   of the first and third cohorts' m onkeys. This experim ent contained four m ale ûûnaïve control'-

   monkeys (AnimallD:4-7) and one male kûnaïve control''monkey (M n13). Relator's new
   classification schem e forthe dopam ine cellcounts wasem ployed forthisanalysis.

            . A II neurom elanin-containing cells:a com bination ol-the two groups below-
              representative ofal1dopam ine neurons in the SN pc ofthe prim ate brain

                     Naïve m ale controls:N,
                                           /A
                     A m phetam ine-onlv:37'% Ioss
                     N/
                      lanp
                         qranese-onls':27'% loss
                     A m phetalnine + Nlanganese:20t'
                                                    A loss
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             w T ll/N eurom elanin cells:contain the 7*
                                                      1-1pl-
                                                           otei11and neurolnelanin

                      N ak-
                          ve lnale controls'
                                           .N ,
                                              /A
                      A luphetam ine-only,:40t!
                                              /i loss
                      Nlanganese-onlv:51f'
                                         X,Ioss
                      Am phetam ine + M anganese'
                                                .246X,Ioss

                Neurom elanin-only cells:contain only ncurom elallin

                      N ai'
                          ve m ale controls'
                                           .N/A
                      A m phetam ine-only:27*,
                                             4 inrrease
                      Nzlanganese-only:83M )increase
                      A m phetam ine #Nlanganese:376/.
                                                     .increase


           ll5. Forthe fifth counts(early 2018),Relatorcompleted dopamine cellcountsin 3
    second cohortfemale ttnaïve control''monkeys (Animal ID: 1-3) for a publication on sex
    com parisons ofdopam ine cellcounts. O ne fkm ale m onkey w as excluded based on the absence of

    dem ographic details. Relator'snew elassifieation schem e wasused again.

                Nak-
                   ve control:three fel-
                                       nalelnonkeys(7954,8074.-1'()02)

           116. Forthesixth setofdopaminecellcounts(mid2018),braintissuefrom 26monkeys
    w as available,consisting of 12 ûtnaïve control''m onkeys from allfourcohorts. A s stated above,

    thisexperim entw asruined by contam ination from anotherlab m em ber.

           117. Guilarte severely retaliated againstRelatorforthe Iossofherexperim ent.

           118. Relatorwenton m edicalleave in A ugust2018.

                     B. Fraud and Falsifieation on iilirim ary G rant''Proposal
           119. HH S defines research m isconduct as:ûûfabrication,fàlsitication,or plagiarism in

    proposing,perform ing,orreview ing research,or in reporting research results.''

             * l7or purposes of the l7CA -b-falsiticationf' is defined as wtm anipulating research
                m aterials.equipm ent,or processes.or changing orom itting data orresults such
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                    thatthe research is notaecurately represented in the researeh record--(42 C .F.R.
                    Pal't93(l03)).

               * The N IH-O RIstatesthatscientistsshould only use data in grantapplicationsthat
                    isbsasvalid and reliable as in publisht!d articles-''8

                       Guilarte has dem onstrated selective m anipulation ofdata to m eetthe requirem ents

   ofhiscurrentinterestsand needs.

                 i. SelectiveOutcomeReporting(SOR)ona FederalGrantApplication
                       SelectiveOutcomeReporting (SOR)occurswhen scientificresearchersûtrepol't
   their tindings selectively--choosing to report seled ed outeom es and analyses based on the

   results.''g SO R resultsin repol-ting bias, ttw herein only a subsetoftheoriginaloutcom es m easured

   and analyzed in a study are fully reported based on the m agnitude ofthe treatmenteffectorthe

    statisticalsignificance of selected outcom es.''g

                       Guilarte partook in selectiveoutcome reporting frequently in thefederaltûprimary

   G rant''application,scientific publications with federalfinancialsupport,and data presentationsto

   the scientific and public com m unities.

             123. Fortheitprimary Grant,''Guilarteselectively reported (1)detailsofexperimental
   design,(2)study resultsand conclusions,(3)the statusofresearch projects,and (4)budgetary
   requirem entsforhisstudies,risking outcom e inconsistencies and m isleading results.

             124. Guilarte's selective reporting inflated his laboratory's progress and success,

   experience w ith research techniques.ttscientific rigors''training and research environm ent,and

   tinancialneeds to strengthen hisfederalgrantapplication,and thus,ensure funding potential.




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           125. By this fraudulent research aetivity, Guilarte risked outcom e ineonsisteneies,

    m isleading results,and uninform ed and inappropriate treatm ent choices related to public health

    concerns regarding m anganese exposure.

                   A sD ean ofPublic H ealth and SoeialW ork,Guilarte'sreporting biasislikely m ore

    hannfultopublichealth than most.

                                        ii. Sf)R :D ata O m ission

                   During the grantdrafting process in Aprilto July 20l7, G uilarte insisted Relator

    om itthe fem ale ûtna'
                         fve control''data from theirfuture publication sum m arizing the dopam ine cell

    eounts:''DO NOT usethefèmalevlonkcyy/yrtheTH SNpcvclnlo'
                              .                            crj/p/.Youhaveenoughcontrol
    animals.h-
             om theinitialcohorttowrf/cthemanuscrlpt.''(Emailfrom Guilarteto RelatoronApril
    6,2017.) A singlemaleSknaïveeontrol''monkey isinsuftieientforresearch studies.
           128. G uilal'
                       te subsequently insisted Relator also om it completed dopam ine cellcounts

    from thesamemonkeysin ûtprimal'
                                  y Grant''Figure l(Figure l-Bl,B2),resulting indatashown
    onlyforthefollowinganimals(Figure1-Al,A2):
            . N aïve Control:one m ale m onkey (N.
                                                 ln l3)
                                                 '
            . A-lnphetanline-onls':threen'
                                   a     lalemonkeys(M n15,51112,54147)
            * Nlaneqanese-onlq,'':threenAalelnonkeys(N1n8,5,
                    -                                      1n10,511)12)
            . A m phetam ipç #N'
                               langanese:t-
                                          ive m alem onkeys(Nzln4.N
                                                                  '11
                                                                    ,9, Nln11,M n3.N1n6)

           129. G uilarte exhibited inconsistencies in his dem ands forthe inelusion orexclusion of

   experimentalgroupsforthedopamineandcholinergicstudies(Section IX):
            * 1701
                 -Table lofthe ûùl3rilnal-
                                         y firant'-application-(iuilarteenlpllasized the felmale
                w-naïve control''l'
                                  nonkeysasa vitalpartofthe proposed eholinergic studies.

            * For GrantFigure 1-G uilarte olnitted dopaluine cellcounts fioln these nzonkeys
                butincluded then)in Figtlres 2 and 3 forthe cholinergic sttldies.



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                                 1.                                                            A 2.
             600000                      Kcontrol(n=4)                                                .Naïvecontrol
      +
      1.
                                                           1 700000                                   zAmphetamine-only
      s                                  wMn-exposed (n=8) P                                          oManganese-only
      S =k.                                                ï 600000
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              600000                    * Cont                                                        mFernaleControl
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    Figure 1.Col
               mparison ofdopal
                              '
                              nineceIlcountsacrossexperimentalgl'
                                                                oupsand sex. (A
                                                                              '1)Bargraphw'as             .



    taken from the k-prim ary Grallt-'Figtlre l. (t
                                                  itliIal
                                                        'te onlitted the fenaale -sna-
                                                                                     fve controlg-nlonkey's froln
    (A l).althotlgh theircellcotlnts Nverecom pleted.lt
                                                      '()rtlle -tcontrol'-grotlp,the single i-naïve control''
    lnonkey Nvaseom bined Nviththethree :-A.lnphetam ine-olll)z-'l
                                                                 '
                                                                 nollkeys.Fortleû-M ll-exposed--group-the
    threeû-Nlanganese-on1).
                          ,19l-nonk'eyswerecol-
                                              nbined '
                                                     w ith the 1
                                                               5ve ISAI'
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                                                                        Iphetanline + N'
                                                                                       Iallganesee'luonkeys.
    The average num berofdopanline ceIlsl+ stalldard errorofthe naean)ur
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                                                                              1fbrthe lteontrol'-and
    û*Nln-exposedh'grotlps. (A2)Shoxvsthentlm ber01:
                             .                     -dopal'
                                                         nineceIIsforeatll
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                                                                         lofthe l3lnonkeysincIuded
    in(A 1).(B1' )Bargraphsllon'sthetwocol'nparisollgrotlpsasil1(-
                                                                 A.l)butwzitl)tllefklllale--lla-
                                                                                               fvecolltrol'-
    data inclutled.(B.2)Showsthelltllnber()fdopaluinecellsforeacllofthe I6 animalsincluded in(B.l)-
    dem onstrating the hieh variabilitv am onst monkeAreroups. Olle grotlp easily callcels outallother.
                                                           ..


    concealing the pt
                    ltçp-
                       -tialeffectsofsex,amphetamille,alld/orI'
                                                              nallganese()1)ceIIcotlnts.Tllesedatavvere
    notready fbrptlblicatiollalld sllould have beellidentilietlasùwprelil'
                                                                         ninary data--in theûwpriluary'Grant''
    application.Instead.G tlilarte stated this sttldy vvasc()111plete alld showed no cellloss afterm angallese
    CXPOSUI'C.




                                                                    31
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                ForGrantFigtlres2 and 3,(itlilarteom itted conlpleted dopal-nine cellcountsfrona
                three tiA m phetalnine-only''and l5ve ---
                                                        f lnphetanlille + &langanese'-Inonkeysbut
                included thenafbrthe dtlpalmine ceIlcounts in Figulv 1.

                      iii. SO R :Falsification of Experim entalM onkey G roups

           130. For ûtprim al'
                             y Grant''Figure 1,G uilarte also m isrepresented experim entalgroups,

    excluding amphetamine asapotentialconfounderfortheinterpretation oftheresults.'

            . Kc ontrol''group:one --nah'e control--and three -'z
                                                                '
                                                                Nlmplzetalnille-tllllq'
                                                                                      r-'m onkeys
                (total= 4 anim als)
            . idM n-exposed'' group: three tùM anganese-only'' and t'ive -'A m phetam ine +
                M anganese''monkeys(totalz= 8 anilnals)

                  M ultiple reasons exist for Guilarte's false grouping ofm onkeys for the dopam ine

    cellcountanalyses.

           132. First,the N lH grant reviewers m ay be less inclined to fund another of Guilarte's

    m onkey m anganese grants if they w ere aware of valuable brain tissue loss from m onkeys

    purchased w ith federalgrantfundsdue to poorexperim entaldesign and handling.

                  Second,G uilarte w ould have to revealonly one iknaïve control''w as available.

                  Third,G uilarte could notperform statistiealtests on the dopam ine cellcounts in

    GrantFigure 1(Figure1(A 1)ofthisdocum ent)becauseofthedatacontainingasinglem aleûknaïve

   control''monkey (M n13). Forstatisticalanalysesmtheminimum requirementforthenumberof
   anim alsisthree.

                  Fourth,Guilarte w ould have to use the term t'am phetam ine''in hisgrantproposal

   and explain itspotentialeffectson the results. Guilarte did notmention thisword a singletim e.

           136. Fifth,G uilarte w ould have to avoid m aking these types offalse statem ents in the

   tçprimary Granf'.''asshown in Figure 1,w(?n(?w havepeçformed unbiased stereologicalcell
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    counting oft
               yrosinehydroxylase(F,
                                   J$-/7t?>'j//vcDA neuronsintheentirevty/l/zncofthesubstantia
    nigraparscompacta (SNpc)q/-///cxcMn-exposedmonkeysandcontrolsandfoundnosign6cant
    dfferences in SNpc DA neuron number.'' Then,he also could notboastaboutproving his
    dopam ine hypothesis.

                  Last,G uilarte could notuse his dopam ine findingsto dem onstrate his laboratory's

    progress on federally funded grantstojustify receiving more federalfunds ($1.1 million)to
    exam ine the cholinergic system s aftertoxic m anganese exposure.

                  iv. SO R :Further Biased Interfercnee w ith R eporting ofRcsults

           138. Guilarte disregarded am phetam ine as a potential confounder for interpreting the

    study'sresults(discussedin SectionX(B)(iii))inthetbprimar.
                                                             yGrant''andnearfuturepublication
    of dopam ine cell cotlnts. Previous literature has clearly dem onstrated am phetam ine exposure

    (eithershort-orlong-term)decreasesTH proteinlevelsand/ordopaminecellnumbers.
                  GuilartetoldRelatorthatûtnifvecontrol''tissuewasunnecessary forherpublication

    inaseientitiejournal,pressuring Relatorto quicklymoveforward withthemanuscriptdrafting,
    even in itscurrentinadequate state.

           140. By his m anipulation ofthe data,no statistically significant difference w as found

    for the dopamine cellcounts between the two groups (Grant Figure 1; Figure 1(Al) of this

    document),supporting Guilarte's long-standing hypothesisthatmanganese exposure doesnot
    cause dopam ine celldegeneration.

           141. G uilarte used this finding to inflate the im portance of studying the cholinergic

    system s in m onkeysexposed long-tenn to m anganese.

                  If the cell counts w ere shown for each m onkey, a decrease in the num ber of

    dopam ine cells would be elearly shown fol'the tûM anganese-only''and possibly t'Am phetam ine-

    onlygroups(Figure 1(A2)and(B2)ofthisdocument).
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           143. Forfive m onthsbefore the -'Prim al
                                                  'y G rant''subm ission,Guilarte im peded Relator

    from perform ing the required experim ents for cellcounts on the four new m ale ûtnaïve control''

    monkeys(AnimalID:4-7).
                  Relatorsoughtadvicefrom two FlU Biostaticians,Dr.Yoo and M s. G arcia,about

    the propergrouping ofthe m onkeys forstatisticalanalyses to be included in herpublication.

           145. Dr.Y oo and M s.Garcia agreed w ith Relatorthatt'Am phetam ine-only''m onkeys

    should not be used as a ûtna'
                                fve control''group for com parisons w ith the ûiM anganese-only''or

    tûA m phetam ine + M anganese''groups. G uilal'
                                                  te skipped thism eeting for unknow n reasons.

           146. A t the tim e of the grant subm ission,Relator began experim ents using the m ale

    tinaïvecontrol''braintissue(AnimallD:4-7)forthethirdsetofdopaminecellcounts.
           147. ForreasonsoutofRelator'scontrol,herprogresswasdelayed on thenew dopam ine

    cellcounts,yetthisdid notpreventGuilarte from m isrepresenting the data in ûtprimary Grant''

    Figure 1 (referto Figure 1(A1)ofthisdocument)and further pressuring Relatorto publish:
    ''Unbiased stereologicalcellcounting t?/'Tli-positive neurons (mean + .%EM) in the complete
    substantianigraparscompacta (SNpc)showed nosignificantdifferencesin thenumbert?/'TH-
   positive neurons between control (h=4; 4
                                          .23,538 + 16,069) (znt/ M n-exposed animals (n=8;
    436,864+ 34,599)(p>.(3.05)(right-sidegraph).''
           148. Two m onths later,the problem w as resolved, and Relator im luediately began her

   new eelleounts in A nim als 3-7.

                     C . Fraud and Falsification:Follow ing (irantSubm ission
           149. The liprimary Grant''wassubmitted toNIH-N IEHS by GuilarteinJuly 2018.

                  W ith laboratory issuesresolved,Relatorcom pleted herdopam inecellcounts.

                  Guilarte frequently expressed his disapprovalof using the four ûtnaïve control''

   m onkeysto Relatorand otherG uilarte laboratory m em bers. H isreasoning atthe tim e w as based

                                                      34
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    on different originating m onkey colonies of the first and third monkey cohorts, w hieh is

    unavoidable forstudies involving non-hum an prim ates.

                    Guilarte's abusive behaviortow ard Relatorcontinued and worsened.

          G uilarte Itefuted N ew Findings of Dopam intlC ellLoss A fter M anganese Exposure

           153. O n A ugust23,2017 in a Guilarte lab m eeting,Relator presented results from her

    third setof dopam ine cellcountsthatincluded the fourm ale 'tnaïve control''m onkeys. The data

    revealed a statistically significantIossofnigraldopamine cellsin ktAmphetamine-only''(23%
    loss)andttManganese-only''(35% loss)monkeys.
           154. During Septem ber to O ctober 2017, Relator used a m ore precise classitication

    schem e for grouping nigraldopam ine cells as in hum an Parkinson's disease patients. Relator

    adjustedherdopaminecellgroupsinasimilarmanner.
                  In am eeting w ith Guilarteon October3,2017,Relatorpresented new tsndingsfrom

    herfourth dopam ine cellcounts thatrevealed a similar pattern ofIoss asthe previous eounts.

    This new quantification, how evers revealed a w ealth of intbrm ation about alterations in the

    dopam ine-neurom elanin system in m anganese-induced parkinsonism , whieb had never been

    shown before.

                  Relatorrequested to presentthese data in theform ofa scientific abstractfora2018

    scientific conference to receive feedback from hercolleaguesand experts in the field.

           157. Guilarte then proposed a new coneel'n aboutan age difference betw een the m ale

   ûtnaïvecontrol''andliManganese-only''monkeys(describedinSectionX(A)).Herefusedtoallow
   Relatortopresentherfindingsatthe 2018scientificconference.

           158. Guilarte accused Relator of withholding the m onkey ages from him . Relatorhad

   previouslyemailedGuilartetheseageson 17otheroceasions(beginningonApril4,2017).
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           159. G uilarte displayed angerand agitation tow ard Relator'
                                                                      .''fn one statem ent, whatare

    you prepared to tellthe world tz/atyzf/these data? '' l-le strongly disapproved ofherdata. Relator

    infonned Guilarte thatshe had consulted w ith Parkinson's disease experts, who claim ed her cell

    countdataweresolid.

                     ii. O m ission ofData for Publication in a Scientific Journal

           160. O n October 17,2017,Relatofm et in-person with G uilarte to discuss w hether he

    would allow herto include ûtnaïve control''data and appropriately grouped anim als for statistical

    analyses in theirfuture publications.

           161. G uilarte displayed extrem ehostility and harassm enttow ard Relator, the w orstcase

    in her four years as his m entee. W hile recording him self on his personalcell phone. G uilarte

    confirmed he would not allow Relator to include ûtnaïve control''data in their publication on

    dopam ine cellcounts,followed by ''Ihave toldyou this many tim es. ''

           162. Guilarte stillinsisted thatthedopam ine celllossin them anganese-exposed anim als

    w as due to an tûaging''effect and not the m anganese itself. Relator pleaded w ith G uilarte to

    reconsider what he was instructing her to do on a scientific publication that would have an

    international-wide influence.

                  Relator clearly stated that she would not accept his unethical dem ands, and

   therefore,m ustabandon her tw o publications. G uilarte threatened Relatorto tread carefully and

   taunted her to reporthim to the F1U Ethics Board and the N lH Office of Research lntegrity.

   A fterw ard, Relator was devastated but knew she m ust consult an FlU officialabout Guilarte's

   abusive supervision and research m isconduct.

                      iii. G uilarte's lnsistence ofBiast)d D opam ine V iew point

           164. Guilarte eontinued to falsely claim m anganese exposure does notcause dopam ine

   cellloss in m edia reports,publications,weekly 1ab m eetings and presentations.

                                                      36
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                   165. G uilarte expressed this continualbehaviorbefore and atkergrantsubm ission,after

    the discovery itw ould be funded,and afteritbegan funding.

                         Example l(April6,2017):''
                                                 D O NOT Nxcthejkmalemonkeys.#prthe TH SNpc
                                                                       .




    manuscript.l'o?Jhaveenough controlanimalsfrom theinitialcohort/0wrffc themanuscript.
    The malewhich turn outto befemale monkeyswcrcpurchased notbecauseyolgdid no/have
    :?,f/ ci
    . .    entanimalsforthe TH          studiesin theSh'
                                                       pc butbecauseyou did nothave the number(?/'
    adequatetissueforthestriatum #yrthe()
                                        7/,.
                                           ,
                                           z1Finterneuronstudies.''
                   167. Example2(April29,2017):''1am happy to/tyo/catany analysisbutattheend t?/'
    thedaytheproblem /.s
                       'thatf
                            l/èvf.
                                 ??
                                  ,
                                  /breakthedatabycl/cgryry theanimalnumbersareIow andthere
    isstillnodifferencehcfwccncontroland Mn in TH nenronnumberwhichï.
                                                                    &themostimportant
    goalof themanuscript.''...''Ifyou don'tbelieveby now thatfJ?t?rf?isno cltangewt?havesome
    seriousproblem !M aking thepaperlongeris notgoing to help.lt% j?
                                                                   ,/x/going tosetyoubackeven
                                                                           .


              'J
    m orl?.


                   168. Example3 (M ay 3,2017):''ln aIIJlfp?kc-
                                                              k/
                                                               ,
                                                               y,1hak'e no idea wJ?/?/you aretalking
    about.IwouldIiketosetup ameeting /f
                                      n-t?rrtlw.lthinkthisisgetting outofhand.Thankyou.''
                   169. Example4(M ay5,2017):''1willnotacceptanotherdelay.Thispaperneeds/:?be
   jlnished andsubmitted.''
                         Exam ple 5(August18,20l7):''Hi,F/kj-
                                                            j,iswhalhappenswhenyou wait/t?f.
                                                                                           )long.''

                         Example6(August18,2017):''Relator,-z1.
                                                              Nyousay,wj//?n(pdisrespect,youdon't
   getit;...Don'tgethxed onthemonkey it'
                                       sthefactthatdopaminergicneuronsdon'tdie what
   counts ''

                         Example 7 (August23,20l7):''1would liket().s
                                                                    'tycthe individualdata #-0/7alI
                                                                                               .




   animalsaswellastheageand treatmentt?
                                      ,/'/J?t?aninlalsbqlbrepresentingatIabmeeting.''
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           173. Example 8 (August23,20l7):''Although 1aIn nofopposed /()presenting atIab
    meetingi
           f thedata ispresentedastz/povc'.''
                  Example9(August23,2017):''Inregards(?/'tlnabstract,1am notsupportiveuntil
    a manuscriptiswritten and subm itted ''

           175. Example10(September20,2017):''infrtln/ofeveryoneinthisjbrum,Iam saying
                                                                 .




    thatIdonotthinktheuseofthesellew naïvemalemonkeysisagoodidea.''
           176. Example 11(October5,20l7):''...A.
                                                b'1indicated inour1:1meeting()n Tuesday,
    IbclievethatthepotcntialJj//àrcncc-s'youareseeing ht
                                                       ?/wccnlhc4natkecontrolanimalsandthe
    3Mn-treatedanimalsmaybearesulttk/'Fff-ncz/ronIossh-om normalaging.Now thatIhaveseen
                                                            -




    thedata,havetheage(lftheanimals,andreadtheagingpapers,lam moreconvincedthati.
                                                                                &the
    case.When 1askedyou Tuesday tfthefwf?groupswcrcdifgrentin age,you indicatedthatthey
    were not.Butin.fàct,?
                        ?/w that1havetheagedalaand1d()at-testtheyarehighly sign6cantly
    dW erentJzlage.''
                  On O ctober 9,2017,Relatorcontacted Lina H erran from FlU *sH um an Resources

    EmployeeandLaborRelations(HR-ELR)departmentaboutheremploymentcontractwith FIU.
    Relatorw asnervousG uilarte w as going to fire herfornotabiding by his dem ands.

           178. O n O ctober 10,2017,Relatorspoketo herpreviousgraduate schoolm entoron how

   to professionally and ethically handlethedisputebetween G uilarte and herself.Relatoralso sought

   feedbaek aboutherreeentGndingsand ''aging ''in m onkeys.

           179. On October 11s20l7.Relator soughttherapy from a psychologistto dealw ith her

   work-induced anxiety and depression and to receive advice on how to navigate her working

   relationship w ith Guilarte. Relator struggled w ith the unprofessional w ork conditions in the

   Guilarte laboratory and G uilarte's forcefulcom pliance w ith his research m isconduct.



                                                       38
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           180. O n O ctober 19, 2017. Relator contacted the FIU O m budsperson, Dr.Rebecca

    Friedm an, for feedback and advice about her abusive situation w ith Guilarte, but she was

    unresponsive.

                    O nN ovem ber 1,2017.G uilarte inform ed Relatorhis'%prim ary Grant''proposalw as

    going to be funded forthree yearsby N IH -N IEH S.

           182. ln N ovem ber 2017,G uilarte stopped paying fbr Relator's attendance to scientitic

    conferences,although itwasan agreem entin hercontract. Relatorbegan paying forherself.

           183. On Novem ber 9, 2017, G uilarte requested Relator purchase m ore m onkeys to

    examine his new ûbaging''hypothesis. ln addition,he agreed to promoting Relatorto Research

    A ssistantProfessorin the spring 20l8.

           184. On January 1,20l8,G uilarte displayed a threatening dem eanor to Relator about

    hercurrentjobposition,aswellaswho shecontsdesinattheUniversity.
           185. O n M ay 3, 2018,G uilarte w as irritated and dism issive w hen Relator presented

    com plete data from the fem ale 'knaïve control''m onkeys com pared to the m ale ûtnaïve control''

    monkeysfora sex eom parison publieation.The NlH hasdeclared the importanee ofexamining

    potentialsex differences in research study anim als. Relatorbelieved she could uniquely eontribute

    to thistopic,because few researchersstudy non-hum an prim ates.

           186. Relator continued working diligently on ûtstudy 1 - Dopamine''project until
   A ugust20l8. During thistim e,Guilartelim ited hisinteractionsand m entorship ofltelator, leaving

   herto feelisolated and afraid abouther future careerin academ ia.

           187. On July l8,2018,G uilarte inform ed Relatorthathe would notprom ote her.




                                                       39
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                                       D . Suppflrting Evidence
           188. Relator gathered evidence for these circum stances from m ultiple sources'
                                                                                         . federal

    grants,scientificpublications,emailswith Guilarte,m eetingswith Guilarte, weekly lab m eetings

    with theGuilartelaboratorypand scientific(Powerpoint)presentations.
            lX .   FA LSIFIC ATIO N S IN ST UDY 2:CH O LINER G IC C ELL CO UN TS
           l89. Relator's second projectin the Guilarte laboratory wasto determine ifchronic
    m anganese exposure resulted in significantchanges to the cholinergic system ofthe striatum , a

    brain region negatively affected by the loss of dopam ine cells in Parkinson's disease. The

    cholinergic(i.e.,acetylcholine-expressing)eellsin the striatum can alterdopaminecellactivity,
    andvieeversa.

           190. Thischolinergicprojectwasoriginally funded by Guilarte'sformerlong-standing
    NIH-NIEHSR01manganesegrant:Projed#:5R01ES010975,Molecular& BehavioralY//
                                                                           'ècf.
                                                                               $'(f
    f-ow-fevelMnExposureandhiscurrenttûprimaryGrant''(R01E5029344).
                            A . Findingsfrom Cholinergic C ellCounts

                   Thisstudy w asearried outin the brain tissue ofthe sam e non-hum an prim ates used

    forûûstudy 1 - D opam ine.''

           192. AsstatedinSectionVII(C)(i),braintissuefrom sevenmonkeys(M n1,M n5,M n6,
   M n9,M n13,M n14,and M n15)wasunusableforthecholinergiccellcounts.resulting inalack
   ofm ale iinaïve control''m onkeysforstatisticaleom parisonsfrom the study's beginning.

           193. The cholinergic study lacked m ale iknaïve control''m onkeys and an insufficient

   numberoftûAmphetamine-only''monkeys(onlytwo)forthestatisticalanalyses.
           194. From N ovem ber20l5 to Decem ber 2016,Relatorcom pleted one setofcounts of

   cholinergic cellsin the striatum (consistsofthe caudate nucleusand putamen regions)of 11
   monkeys(Table l):

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     Figure 3.Colmparison ofcholinergic cellcotlnts across experiluentalgrotlps and sex. (.A 1-,4.
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            eretaken from tlle--pril
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                                         ll-allt-'Figure.
                                                      . 2.CelIcountsfrol-
                                                                        n tlle catldate l'ucleusare sllovvn
     in (A I-B1)and forthe putal
                               men in (A2,B2). '
                                               I-l1eaverage ntll'
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     errorofthel'
                nean)isshouzn fortlle ikcolltrol-'and tbNlll-exposed--grotlps.I1)(A l,A
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     -tklanganese-on13,'-forthe i-l
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                                  kln-exposed-'grotlp. I1-1contrast- eelIcotlltdala fortlle fotlr groups of
     monkeysareshovvllin(13l.B2)todenlonstratethehighvariabiIity alnonggrotlpssvllellalmphetal'
                                                                                              nine
     isconsidered an independelltvariable.



             195. The cholinergic cellcounts w ere a tedious task thattook over a yearto com plete.

   Relatortook a shortbreak forherpregnancy and m ove to Florida w ith the G uilarte laboratory.
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           196. W ithin the caudate nucleusand putam en ofthe striatum ,sublvgionsexistthathave

    differentfunctions,which variably change in Parkinson'sdisease.

                   Relator's data dem onstrated a different pattern of cell loss betw een the caudate

    nucleusandputamenfortheexperimentalgroups(Figure2).A moredrasticlossofcholinergic
    eellswasobservedintheputamenofttManganese-only''monkeys(Figure2-A2,B2)comparedto
    thecaudatenueleus(Figure2-A2,B1),mirroringasimilarregionallossasinParkinson'sdisease.
                      B. Fraud and Falsification on Rprim ary G rant''Proposal
           198. G uilarte dem onstrated research m isconduct prior to the 'tprim ary G rant''

    subm ission and fraudulentactivity during the drafting ofthe grantproposalin a sim ilarm anneras

    for tûstudy 1 - Dopam ine.'' Guilarte falsitied im portant experim ental details in his grant

    applicationto intlate the significance ofthe proposed studies, and therefore,obtain federalfunding.

    Guilarte knowingly m isled the NlH reviewers,who were hisfellow peers.

           199. After successfulgrant fundingaG uilarte intentionally im peded Relator's progress

    on theprojectslistedunderSpecificAimsland 2and refusedto discussthem with her. W hen
   Relator took m edical leave in August 20l8, she had not w orked a single day on the tûlarim al'y

    Grant,''after its funding began five m onths earlier.

           200. A fter the ùûprim ary G rant'' subm ission to N IH -N IEH S in July 2017, G uilarte's

   fraudulentactivities continued,along w ith his retaliation and m istreatm entofRelator.

                                        i. Experim cntalDesign

                   A tthe tim e Guilarte began w riting his grantproposalin April20l7, he w as aware

   ofRelator's serious concerns about his faulty experimental design. im proper grouping of the

   study'sanimals,and dataorigin thatwould lead to unfeasibleresults.

           202. Guilarte intlated his laboratory's previous rigorand success w ith various research

   m ethods,resulting in risky behaviorpatternsto obtain federalgrantfunding. G uilarte's laboratory
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    hasperform ed eertain teehniquesstated in the grantbutwere discovered to be incorred by Relator.

    H islaboratory lackspropertraining.accountability. equipm entm aintenance,and lab m anagem ent.

    These potentialfaulty resultshave been published in m ultiple papers by Guilarte.

           203. G uilarte failed to specify the sam pling plan and allowed the perform ance of

    m ultiple sm allstudies,depending on his desired outcom e ofthe results. For exam ple,Guilarte

    requested Relatorperform cellcountson specitic groups ofm onkeys random lye as needed.

           204. The subsequent exam ples of fabricated tûpositive''aspects by G uilarte aboutthe

    grant'sexperimentaldesigndem onstratehisfailuretoassurereproducibility andenablereplication

    ofthe ûûprim ar.yGrant''sttldies.Hiscarelessbehaviorcould impedetheprogressofotherresearch

    groups,leading them dow n false avenues of investigation, and thus,intertkring w ith their grant

    funding success.

           205. G uilarte falsely asserted in the grantproposalthat ''always the .jwz?7c side ''ofthe

    brain wasused forthe proposed grantstudies, and allbrains underw entidenticalpost-proeessing

    m ethods. Guilarte rem oved Relator's accurate description of these m ethods in his final grant

   proposal.

           206. Guilarte intentionally rem oved Relator's statem ent intbrm ing the N1H reviewers

    thattissue slicing from 22 brains had been com pleted. Instead,Guilart
                                                                         e stated Gosome q/-the5,
                                                                                                /tz/
                                                                                                   75'
   were sectioned into so-ym-thick coronalslices.''

                  AgainstRelator'sadvice and expertise on the applieation ofstaining techniquesand

   its lim itations to distinguish eelltypes,G uilarte falsely asserted these m ethods would provide a

   resolutionto the grant'sproposed questions.




                                                      43
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           208. Relatorw arned G uilarte thattûaxonopathy''or lossofaxons/nerve fibers cannotbe

    quantified asheproposed in thisgrantproposal.H owever.G uilarte deliberately included thisfalse

    inform ation to overstate the ''rigor''ofthe study.

           209. G uilarte deleted R elator's statem ent about the lim itations of the ''som a size

    determ ination ''study from the finalgrantversion. ln fact,G uilarte did notdiscuss any m ethod

    lim itations in the grant,exceptforhis third specific aim s w hich is not standard practice forgrant

    applicants. The N lH R01 guidelines for the Research Plan Form state: -tlliscuss potential

    problem s,alternative strategies,and benchm arks tbr success anticipated to achieve the aim s''

    (G.400.PHS 398ResearchPlanForm,page142).
                                               Data Collection

           210. Guilartestopped datacollection (Decem ber2016)on theAkbody'-andtktail''regions
    ofthecaudatenucleus(brain region ofthe striatum)based on desired resultsand intermediate
    significance testing for Relator's abstrad subm ission to the 2017 Society of Toxicology

    conference.

           211. G uilarte instructed Relator to finish these cholinergic eounts at a separate tim e,

    which she did for the caudate nucleus Ktbody''in February 20l7. Relator did nothave another

    opportunity to finish the counts in the caudate titail''region because of troubleshooting serious

    issues in the Guilarte laboratory.

           212. Guilarte'stlaw ed experim entaldesign resulted in the counting ofcholinergic cells

   atdifferenttim e points in the experim ent. The S:third cohort''of m ale Ktnaïve control''m onkeys

   (AnimalID:4-7)would haveundergone cellcountsyearsafterthose already completed in 11
   m onkeys.




                                                          44
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           213. Guilal'te underreported Relator's progress on the eholinergie eell counts in the

    striatum to inflate the ûtprim al'
                                     y G rant-s''budgetand to give the false im pression of the grant's

    studiesrapidprogression in futureûtprogressReports'-to NIH-NIEHS.

                   G uilarte falsely stated thatthe striatalcholinergic cell counts w ere com pleted in

    only six ofthe eleven anim als,engaging in selective reporting. Relatorhad com pleted eountsin

    all1l m ortkeys eightm onths before the ùtprim ary G rant-'subm ission.

                                    iii. D ata and StatisticalA nalyses

                   Guilartemisrepresented the available animalnumberforprojeetsunderSpecific
    A im s 1 and 2 ofthe tûprim ary Grant.''

           216. Guilarte failed to conducta w ell-tbunded poweranalysis forthe ttprim ary Grant.''

    lnstead,Guilartefoundedhispoweranalysisfortheentiregrantprojectbasedonseven monkeys
    thatw ere unusable for Specific Aim s 1 and 2.

                   By including these extra anim als,Guilarte deceived the N IH grant reviewers to

    believe hisproposed studies m etthe sam ple size requirem ents for statisticalanalyses.

           218. The statisticaltestsused forGrantFigures1and 2 misrepresented thedata shown.

           219. G uilarte om itted the statisticalanalysis section written by Relator and replaced it

   w ith Dr.Y oo'sideasthatfalsely com bined m onkey groupsinto eitherkbcontrol''orb:Nln-exposed.''

   G uilarte eoneealed the fad that subgroups contained am phetam ine-exposed m onkeys.            On

   previousoccasions,D r.Y oo had agreed this wasnotproper grouping ofanim als forstatistics.

                                          iv. Reporting Results

           220. Fortiprimal'y Grant''Figure2,Guilarteselectively reportedresultsfrom thefemale

   ktnaïvecontrol''andtkM anganese-only''monkeys(Figure2-Al,A2).Guilarte,therefore,failedto
   mention the com pleted cell counts from the ûkAm phetamine-only'' and btAm phetam ine

   M anganese''monkeygroups(Figure2-Bl,B2).
                                                        45
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            221. G uilarte consistently asked Relatorto presentherstudy findings in thism anner.

           222. G uilarte avoided discussion w ith Relatoron m any occasionsaboutthe resultsfrom

    the iûAmphetam ine-only'' and kkAmphetamine + M anganese''m onkeys, because their results

    differed from the large m agnitude ofcholinergic cellloss in the t'M anganese-only''m onkeys.

                   Unlike the dopam ine cellcountstudiessGuilarte claimed the striatalcholinergic

    study required m ale itnaïve control''tissue forpropercom parisons. G uilarte also neverproposed

    Relatorcom bine the %ûnaïve control''and kûAm phetam ine-only''groupsforstatisticalanalyses.

           224. Guilarte failed to providerationale forthe acquirem entofthe -vA m phetam ine-only''

    data thatw asunusable forstatisticaltesting. GrantSpecific A im s l and 2 w illalso be im peded by

    thisinsufticientnum berofanim als.

           225. Guilarte withheld pertinentinform ation aboutthe k'control''group show n in Grant

    Figures 2 and 3. lm ages w ere taken from a tkm ale v*naïve control'* m onkey and a m ale

    ûkm anganese-only''m onkey.

                                        C. Supporting Evidence
                   Relator gathered evidence forthese circum stances from m ultiple sources:federal

    grants,scientific publieations,em ailsw ith G uilarte,m eetings w ith Guilartes w eekly lab m eetings

   withtheGuilartelaboratol'y,and scientitk (Powerpoint)presentations.

                           X.      A DD IT IO N A L PO INTS O F C O N CE RN
           227. Guilarte intentionally,know ingly and recklessly carried outthe follow ing casesof

   fraud and research m isconductpriorto,during,and aftersubm ission ofthe itprim ar.y Grant.''

        A . G uilarte's ikA ging''Concern for the Dopam ine butnotthe C holinergic Studies
                                                 Introduction

           228. G uilarte has insistently m ade the false claim that the study-s three ukm anganese-

   only''monkeys(M n8,Mn10,and Mn12)weresignificantly olderthanthemalettnaïvecontrol''
                                                        46
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    monkeys(W W P-Ithrough W W P-4).oftendefiningtheoldermonkeysas''aged.''Themonkeys
    hadamaximum agediffkrenceof4.7 yearsold(Table2)-which isequivalentto 14.1humanyears.
    Guilarte raised the age issue after Relator presented herdata setshow ing significantm anganese-

    inducedlossofdopaminecells(orTl4proteindownregulation),opposingGuilarte'slong-standing
    hypothesis. Previous sdentifie literaturç dem onstrated that nigral dopam ine cell loss beeom es

    significantaround k 20 yearsold,l0differing from Guilartefsstatem ent.


                                 ExposureG roup       A nim alID             Age
                                 N ahre Control




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                                 Nlaneanese-olllA
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             Table2 Conaparison ofage between ùkna-     fvecontrol'-and -tlnallganese-on1).
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               lquestion by'(luilal4e and relatekltt)thedopanline eelIeotlnts.
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                 ii. Fraud and Falsification ofD esign,D ata.and StatisticalA nalyses

                           a) Approved AgeofAnimalsatTimeofPurchase
                    Relatorpurchased allm ale ûûnaïve control''m onkeysfrom externalprim ate centers

   withpriorapprovalbyGuilarte,onthreeoccasions:(l)July l0,2015.
                                                               ,(2)February22,2017,
                                                                                  .and
   (3)January31,2018.
                   Relator received finalapprovalofthe monkey ages to be purchased by asking

   Guilarte and D ziedzic,because the ikoriginal''m onkey cohort's ages w ere withheld from her.



   i0scientifscref-
                  elvncesavailabletlponrcquest.
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           231. Guilarte and D ziedzie requested and aceepted different ages fol'all three cohort

    purchases:C ohort1:4-8 years old;C ohort2:6-8 years old;and Cohort3:8-11 years old.

                    ln contrast,the ûkoriginal''monkeycohortfrom Schneider'slaboratory(i.e.,M n1-
    Mn15)atThomasJeffersonUniversityrangedinagefrom 8.7-10.3yearsold.Guilarte,theretbre,
    approved thepurchaseoftwo m onkey cohortsatyoungeragesthantheexperimentalanim als. H e

    neverm entioned a potentialaging issue atthispoint.

                           b) SignificantTimingofProposedTheory
           233. Biostaticiansdisapprove ofresearchersttmeasuring additionalvariables(such as
    age)thatenablelaterexclusion ofanimalsfrom thestatisticalanalyses.''ll The com pleted cell
    counts cannot be excluded from the final statisticaltests and report of the results in scientific

    publieations. This decision should have been deeided a priori, not impromptu,excluding the

    tûaged''monkeysfrom thestudiesin thefirstplace.

           234. Guilarteproposedthekbaging''conceptonly afterRelatorrevealedasigniticantloss

    ofdopaminecells(orTH protein downregulation)after(1)amphetamine,(2)manganese,or(3)
    am phetam ine+ m anganese exposure com pared to m ale ttnaïve control''m onkeys.

           235. ln M ay 2018,Guilarte told R elator to use ûtage''as a t'covariate''for her future

    statisticalanalyses.

                           c) Selective Reporting:IneonsistentAging fTIaim s
                   Guilarte m ade inconsistent, false claim s about the classification of the study

   anim als'agesin hisN ll-l-funded grants,publications, and w eekly laboratory m eetings.

           237. Guilarte used alternative inclusion and exclusion criteriaforthe statisticalanalyses

   ofthegrantproject'sanimals. .


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   studies:A checl
                 klistto avoidp-hacking. Fr()1)tlY,ychtll(7):183-
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           238. G uilarte excluded the m ale Rnaïve control'' m onkeys from the results

    potential publication describing the effects of m anganese exposure on dopam ine cell counts.

    Guilarte falsely insisted these m onkeysw ere t:oldel-''or %taged''anim als.

                   ln contrast, Guilarte approved these sam e control anim als for future statistical

    eom parisons in the tûprim al'y G rant''studies ofthe cholinergic system . ln this instance,G uilarte

    classified thesesamemonkeys(GrantTable 1)as'kyoung adults,''in agreementwithstatements
    from hisearlierscientific publicationstinanced by federalfunds.

           240. Guilarte proceeded furtherby stating in the grantthatthese m ale kinaïve control''

    m onkeysw ould notdisplay signsofttaging''based on theiryoung age.

                   A fter grantsubm ission,G uilarte stated thatRelator could also notuse these m ale

    Hnaïvecontrols''forhereholinergieeelleountsifthissystem wasalteredbytsaging''(whichitis).
    G uilarte,therefore,w as im plying thatttprim ary GrantSpeeifics A im 1 and 2''were suddenly not

    feasible fordata acquisition.

                   O n num erousoccasionssGuilarte knowingly and intentionally m anipulated thedata

   and statistical results from previous scientific literature to fit his aging hypothesis. Guilarte

   m iscited the literature stating that a significant loss of nigraldopamine cells occurred during

   étm iddle''age(neverspecified itsdefinition)com pared to utyounger''aged monkeys.
           243. During FlU 's inquiry into Guilarte's alleged research m isconduct, he know ingly

   and intentionally m isled the lnquiry Com m ittee aboutthe previous aging findings to defend his

   hypothesisthatm anganese toxicity doesnoteause dopam ineeellloss, and thus,Relator'sm ultiple

   cellcountsm ustbe w rong.

                                    d) UnethicalDuplication ofResults




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            244. Because Guilarte insisted Relator's final results from dopam ine eell counts

    stem m ed from a ltsignificant''age difference of anim als, he obligated her to purehase a third

    monkeycohortofmaleûtnaïvecontrol''monkeys(i.e.,thetifoul'
                                                            th cohort''ofmonkeys).
            245. Guilarte unnecessarily and unethically had Relator duplicate results a fourth tim e

    to suppot'this long-standing hypothesisand disprove Relator's resultsofdopam ine cellloss.

                                e) M
                                   ' isuseofNon-human Primatesin Research
            246. G uilarte displayed noncom pliance, carelessness and anim al welfare concerns in

    regard to his usage ofm onkey brain and spinalcord tissue priorto and afterthe -ûprim ary Grant''

    subm ission.lz

                     Guilarte duplicated experiments (for the dopamine cellcounts) requiring the
    needlesseuthanization ofm oremonkeysataprime breeding age.

            248. Guilarteriskeddamagetothebraintissueoftivemonkeys(M n3,Mn6,Mn9,M n11,
    andM n15)duringpost-processing(ï.c.,aftereuthanasia),inoppositiontoRelator'sexpertiseand
    recom m endations. Three ofthese m onkeys exhibited either freezing artifactorinter-m ixed right

    and leftbrain hem ispheres in the striatum ,and therefore,w ere unusable forthe eholinergic cell

    eounts diseussed in the û'Prim ary Grant''- Speeific A im l.G uilarte included these anim alsin the

    grantstudies.

            249. Relatorreported herconcernsto the D irectorofResearch lntegrity atFIU .

                              9 ResultofLastExperimentusingM onkeyCohort3
            250. Relator'slastexperim entto countdopam ine cellsfrom 26 m onkeysw as ruined by

   contam ination from the m ain laboratol'y refrigeratorby anotherG uilarte 1ab m em ber. Relatorhad

   asked M s.Dziedzic on two separate occasionsto speak to said lab memberaboutherexpired,

   possibly contam inated,solutions.


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           251. This lab m em ber had been given her notice for questionable practices in the

    laboratory,butG uilarte allowed herto stay an extra six m onthsto perform m ore experim ents.

           252. W ithout evidence, G uilarte and Dziedzic assum ed Relator's experim ent w as

    usable, contrary to Relator's conclusions. G uilarte proceeded to corner and criticize Relator,

    accusing herofktoverreacting''to the lossofherentire experim entand m aterials. Guilarte berated

    Relatorto the pointshe broke down in the lab.

           253. Guilarte avoided discussing the contam ination problem in the laboratory and

    dem anded Relatorprove herexperim entw as unusable in the weekly lab m eeting.

           254. G uilarte allow ed other lab m em bers to discard their m aterials from the

    contam inated refrigerator,butscolded Relatorw hen she requested the sam e thing.

           255. Relator confinued her experimentwas unusable underthe m icroscope and took

    representative im ages.

           256. Because of Guilarte's resistance to Relator-s conclusions, she becam e concenzed

   thatGuilarte m ay force her to use the eontam inated tissue for herpublieation, and ifshe resisted,

   he would retaliate againstheragain.

           257. A short-tim e afterw ard,Relatortook a m edicalleave.




                                       iii. Supporting Evidence

           258. Relator gathered evidence fbr these circum stances from m ultiple sources:federal

   grants,scientific publications,emailswith Guilarte.m eetingswith Guilarte, weekly lab meetings

   withtheGuilartelaboratory,andscientific(Powerpoint)presentations.
             B. G uilarte Falsified Inform ation for Publications in Scientific Journals
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                                                 i. Introduction

                    Guilarte know ingly allow ed false and m isleading infbrm ation to enterthe research

    record to increase his laboratory's num berofscientific publicationsand subsequentcitations.

           260. One essential factor to obtain successful N lH grant funding is to have enough

    scientificpublicationsandcitationsin well-respectedjournals.Guilarte,therefore,increasedhis
    chancetosecurefuturefederalgrantfundingbyintlatinghisprojects'achievements.
                    ln the ltA cknow ledgem ents'' section, G uilarte-s publications listed N lll-federal

    grantnumbersasresponsibleforfunding itsstudies.ThetwoNlH grantslisted forthemanganese-

    related publications were 5R01 E5010975 and R 01 E5029344.

           262. The follow ing events further confirm G uilarte's system ic, pattern of intentional,

    cognizant,and recklessbehaviorofhispublicationsin scientiticjounzals,matching thatofhis
    2017 N IH ikprim ary G rant''application.

        ii. Fraud and Falsification ofD esign,Data,and StatisticalA nalyses in Publications

           263. Guilarte'sscientificpublicationsrelated to themanganeseprojectwerepublished
   from 2006 to 2019,consisting of 16 papers.'3

                   Guilartew asusually the ikcorresponding Author''forthese publications, signifying

   his responsibility fortheircontent.

           265. Guilarte know ingly corrected ordiscarded data during data collection.

           266. Guilarte determ ined the data collection tkstopping rule''based on desired results.

                   G uilarte presented results in a m anner that failed to assure reproducibility and

   enablereplication.




           l3Publicalion identitication ntln,bersavaiIableuponrequest.

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           268. G uilarte im properly iniated conclusions from hism anganese studiesbased largely

    on qualitative observationsand m ethods.

           269. G uilarte fabricated ikresults'' aw aiting contirm ation and publication. G uilarte

    enforced these btresults''in argum entsagainstotherresearch groups. (PMID:29173993)

           270. Guilarteomitted ttoutlierdata''from hisscientific publicationswithoutappropriate

    pre-experimentjustification or thorough statistical validation. Guilarte altered the overall
    conclusions ofhis statisticalanalyses and results.

           271. Guilarte failed to m ention pertinent inform ation related to the scientific studies,

    misrepresehting,ormisidentifyingthestudy design.

                   Guilarte partook in iûp-hacking'' of statistical analyses,            ûbthe practice of
    reanalyzing data in m any w aysto yield a targetresult.''l'
                                                              l This unethicalattem ptresults in false

    positives:ttfindingsthatstatistics suggestare m eaningfulwhen they are not.''l5

                 As in other publieations.RelatorNvitnessed Guilarte's unethicalappl-oach wr
                                                                                           hen
                 analyzing and describing his study's results               m ost recent publication
                 IP&
                   '11D:30720866),indicatinghisp.atterned unprofessionalbehavior.
                 -*p-lutcking''also occtlrs Nvhen one m anipulates and/br contintlously reanalyzes
                 the data to l'ind a lack of statistic.
                                                      alsigniticance. as G uilarte attenApted Nvith the
                 dopanainergic ceIIcounts in l-
                                              nanganese-exposed luonkeys.

                       iii. Am phetam ine-Exposed A nim als:kklm aged C ontrols''

                   G uilal'te m anipulated independent variables by discarding or com bining levels of

   factors such as am phetam ine and/orm anganese, interfering w ith the interpretation and reporting

   offederally-funded results.




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        Table 3. Colnparison of amphetall)ine-exposed monke-'vs that vvere ù-lArone     : rlvW Labeled'' (blue).
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            publications froln the GuiIarte Iaborator-v from ZO06-2019.  -   '
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            eoneealnlent(71'
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                                   tentalgroupsalld data origin increased throtluhoutthe vears and occurred for
            both monkev cohorts. A consislentpattern 01   -selective reporting and coneealm entare shown.
                       274. G uilarte falsifled and neglected to inform readers about the true identity of the
       ''
        na/vc control'' or ''control'' anim als in 14/16 of his publications '
                                                                             related                                                                                                                                                   chronically

       manganese-exposedmonkeys(2006-2019)(refertoTable3).
                                     Originally,Guilartedisplayed transparency abouthis ''control''groups in his 2008

       publication (PM ID:18808452). Hedescribed statisticalcomparisonsbetween ûûamphetamine+
       manganese''monkeysandûtnaïvecontrols''ortûlmagedcontrols''(amphetamine-only).
                       276. A fterw ard,Guilarte refrained from m entioning the bklm aged controls''w ere exposed

       to am phetam ine,and he rarely,ifatall,discussed the effectsofam phetam ine on the study'sresults

       (Table2).
                                     Externalreaders cannotfully com prehend Guilarte's anim algroupings because of

       improperexperimentaldesign and selective reporting in hispublications. Relatorwasaprojeet

   leaderforthese studies,and thusshad accessto thisinformation.




                                                                                                                                                   54
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               278. G uilarte displayed sim ilardeeeitfulbehaviorin his 20l7 kbprim ary G rant''proposal

    funded by NIH -N IEH S.

                                                         iv. Supporting Evidence

              279. Relator gathered evidence for these circum stances from m ultiple sources:federal

    grants,scientific publications.em ailsw ith G uilarte,m eetingsw ith G uilarte, w eekly lab m eetings

    withtheGuilartelaboratory,and scientific(Powerpoint)presentations.
                         G uilarte Interfered w ith the Perform ance of Nll-l-Funded Itesearch
              280. Atthe time ofRelator'smedicalleave,Guilarte'spersonalquestforevidenceto

    supporthis dopam ine hypothesissand lack ofproper oversightof his lab'sm anagem ent, resulted

    in duplication ofresults,baselessmonkey euthanasiaand a shortageofbrain tissueforadditional

    studiesofdopam ine cellcounts.

              281. Guilarteusedhisunconfirmeddopam inehypothesisto intlatetheimportanceofhis

    otherm anganese-related studiesto secure federalgrantfunding.

              282. The N IH -O RI states that Skpossible red tlags of research m isconduct''include a

    lilaek oftranspareney''eonsisting ofunknown loeations ofrequested raw data and hidden research

    m aterialsand protocols.lt
                             '

                      f'
                       ltlilal'
                              te Nvitlzheld pertinent infornAation related to various prqiects frol'
                                                                                                   n his
                      Iaboratory-s t-aculty and staff.as n.
                                                          'ellas externalct'llabolutors. 'l-his behavior
                      led to nulnerotts enlployees resigning fron)theirposititlns befbre theircontracts
                                                                                                 .



                      retired-im peding prog.ress on grantproposals                        .




                      Guilartefalsely nnisled Relatoraboutthestatusofherprojectbeforeshejoined
                      hislaboratory.indicating :1false Ievelofsuccess, resulting ina signiflcantdelay
                      in theproduction ofrestlltsforgrantprogressreports.




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           283. G uilarte w as nottransparentaboutim perative details ofRelator'sfederally funded

    project,causingadelay inprogress,awasteofresourcessueh asmonkeybraintissue,alaekof
    scientific rigor,and a sense ofdistrustin his laboratory'senvironm ent.

                Amplifiedbyhislaboratorymallager(Dziedzic).whoactedunprofessionallyand
                unethical1),.and buIlicd otherlab lnel-
                                                      nbers.

                Faulty research m ethods' protocols. Data fronl these protocols have bcen
                published in m any scientitic ptltnlicationsthatw ere federally funded by the N 111.

                Ileliberate obstrtlction of Relator's participation in activities thatw'ould ensure
                the proper developluent and perforlmance of experilnentaldesign, restllting in
                tlnusableordamaged braintisstlefrom 6 monkeys.('I-hisinfonuationxvashidden
                by Guilarte ti-om the granteo-làl/collaborator,D r. Schneider.)

           284. G uilarte know ingly w ithheld from Relator'
                                                           .

                Resources for proper experinaentation to be carried out, such :ts properly
                m aintained equipnzent and a clean- salk laboratory environlment, directly
                im peding progress 01)grantproposals.

                ResourcesforgrantprtlgresssuchaspotentialFltJandexternalcollaboratorsand
                com putersoftwure.

            . Resources stlch as funding to attend contkrences to reeeia
                                                                       k'e lbedback tiom tlle
                scientifie conam unity about experinAental design and data analyses related
                N ll-l-funded grants.

           285. Guilarte displayed abusive and retaliatory behaviorsagainstRelatorand otherlab

   m em bers,interfering w ith theirprogressto com plete federally funded grantstudies.



    X I.   FLO R ID A INT ERN AT IO NAL (IN IV ERSIT Y M AD E FA LSE C ERT IFIC AT IO N S
               B. A Fraudulentiiprim ary G rant''BudgetC reated by D efendants




                                                        56
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             286. D efendants intlated the budgetfortheir ''Prim ary G rant''to N IH-N IEHS in 2017.

    Under Guilarte'srequest,M s.D ziedzic participated.

                       Guilarte requested Relatorprovide a budgetfor her experim ents under tiprim al'
                                                                                                     y

    Grant''SpecificAims 1and 2.Relatoranticipated an annualm aximum of$15.000 -$20,000.
             288. W hile Relatorw as in M s.D ziedzic'soffice, G uilarte called M s.Dziedzicto tellher

    to furtherinflatethebudget.

             289. Guilarte and M s.Dziedzic asked Relator to invent extra expenses if possible.

    Relatorinformedthem thatherexperimentsdidnotrequire$72,347ayearforthreeyears, because

    afairamountoftheprojectwascompleted (SpecificAim 1).
             290. Defendantsinappropriatelyrequestedfundsforthesalary(i.c.,30% of$30,000)of
    alaboratolytechnician,whoinformedGuilarteinthesummer2017(whenthegrantsubmitted)of
    his resignation in Decem ber2017,five m onthsbefore the 'çprim ary Grant''funding began.

                       Defendantsverified the contents ofthe entire tiprim al'y Grant''application before

    subm itting to N IH -N IEH S.

             292. FlU receivesaround 35.00- 46.50% ofevery federally-funded grant(i.e.,itfringe
    benefits''orttindirectcostrates'')awardedtoacademicresearchersattheiruniversity.l7
                                       C . R elatorgs iiG ood Faith'sAllegation

                       On Septem ber27,2018,Relatorm adean ofticial'kgood faith''research m isconduct

   allegation against Guilarte in the presenee of M r.M inick, M r.Grayson (FIU-ORED),and Liz

   Marston(FIU legalrepresentation),whileexercisingherfederalrightundertheFM LA.




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           294. A tthism eeting,Relatorwas infonned thatG uilarte reported herto FIU -O RED for

    research misconduct,statingshehadstolenand deleted ''aIIf'
                                                             //e.
                                                                ççtfyourdata andanalysisjkom  .



    thep(z5,/Jyears''from hislaboratorypriorto hermedicalleave.

           295. FlU stalled their standard procedures to begin the ttinquiry''process of a research

    misconductallegationforsevenmonths(from September20l8toM areh2019)basedonGuilarte's
    false,tbunoftieial'accusations againstRelator.

           296. Guilarte also inquired w ith O RED if he could im m ediately search for a candidate

    to replace Relator,while she w ason m edicalleave.

           297. Relatorwasinformedbyalaboratorymemberthatalargequantityofherdata(i.e.,
    41boxesofmicroscopeslides)wentmissingfrom theGuilartelaboratory.whieh shereportedto
    O RED during herm eeting and otheroccasions.

           298. In N ovem ber 2018,Relator w as placed on a paid adm inistrative leave by FlU 's

    H um an Resources departm ent.

           299. ln D ecem ber 2018,M r.G rayson phoned Relatorto requestshe provide the ''data

   shehadtakenand/ordelctedfrom theGuilartelaboratoly.''Although anofticialF1U employee,
    Relator addressed Guilarte's accusations in an 8-page rebuttal and m ailed a USB stick with

    additionaldata to O RED .

           300. On M arch 22p2019,Relatorw asfired from FlU m i.e..hercontractwasnotrenew ed.

   forunidentified reasons.FIU failed to protectRelatorfrom retaliation by them selvesand G uilarte.

           301. O n April23,2019 - seven m onths afterRelatorm ade herûkgood faith''allegation,

   F1U 'sResearch M isconductlnquiry Comm itteem etforthe f'
                                                           irsttim eand itwasgiven the charge

   by D r.Gilofconducting an inquily on allegations ofpossible research m isconduct''into Guilarte.
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    The Com m ittee ûlwasto condud an initialreview ofthe evidence provided by the Com plainantto

    detennine whethera form alinvestigation ofthe Respondentwasw arranted.''

             * lnquiry Conzm ittee: Dr. ltobert Lickliter. Prol-
                                                               essor of Psychology in the
                 College 017A l
                              4s-Scielzces,and Edtlcation-Chair 01-the Conln-tittee:D r.Angela
                 Laird-Professor ()fPhysics in the Collcge ofArts,Science alld Education;and
                 D r.Nazira El-llage,Associatc Professor in the IIerbel-tN'
                                                                          Vertlleil'
                                                                                   n C ollcge of
                 M edicine.

             . Conlm ittee lnet on Xlay'08.Nlay 09-M a).
                                                       ' l3.and Nla),
                                                                    '17-20 19 to intervieqv
                 Nvitnesses.the Con-
                                   lplainant(Relator).andtheRespondent(Guilarte).

           302. On April24,2019,M r.Grayson (FIU-ORED)contacted M r.M inick to request
    Relator undergo an interview with Fltl's research m isconduct Ktlnquiry Com m ittee,''failing to

    com ply w ith their lo-day policy to begin the inquiry process.

           303. On M ay 9,2019,RelatorreportedtoFlU and fully cooperatedwith herquestioning

    by the lilnquily Com m ittee.''

                   On June 3. 2019. M r.G rayson em ailed Relator the results of the inquiry into

   G uilarte's fraudulentactions:

            ttAlthough the allegation ofmisuse ofpublic (federal)funds contained in the
           com plaint does not constitute research m isconduct, the Com m ittee found no
           evidenceto supportit.Dr.Guilarte did ordera third batch ofprim ate tissue, and the
           Com m ittee agreed that obtaining additionalcontrol group tissue w as necessary,
           given any possible inconsistencies in the data due to differences in genderor age.''

           tûln sum ,the Com m ittee concluded thatthere is notsufficientevidence to support
           the claim ofresearch misconductpertaining to falsification,misrepl-esentation, or
           omission ofdataon a federally-funded grantproposal.''

           305. On June l2,2019,Relatoremailedherlo-pagetyped rebuttalto FIU.




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           306. Throughoutthis tim e,G uilarte m aintained his position as Dean of Publie H ealth

    and SocialW ork and Principallnvestigatorofhis laboratory atFIU .

       D . Defendants'Failure to Uphold H H S Public H ealth Service Policies on R esearch
                                                   M isconduct

           307. FlU failed to uphold the entirety of42 C.F.R.j 93.300 (b):ûtrespond to each
    allegation of research m isconduct for which the institution is responsible under this pal4 in a

   thorough,competent,objectiveandfairmanner.includingprecautionsto ensurethatindividuals
   responsibleforcarryingoutanypartoftheresearchm isconduetproceedingdonothaveunresolved

   personal,professional or financial conflicts of interest with the complainant, respondent or

   w itnesses.''

            * lnquiry Colzuuittee did notaddressluultiple allegations l'
                                                              .        nade by Relator.

            . The intervienred Nvitnesses (l)r. Yoo, M s.Dziedzic- N/ls. Garcia G uilarte. and
                   Relator)werehighly biasedinIleanGuilarte'sfavor.astheyreporthim.


                   previotls recom m endation for the statisticalanalyses to incltlde four groups as
                   Relatorhad suggested.

            . M s.Dziedzic.w ho has bcen (iuiIal4e's lab m anagertbr2()years. wasalso listed
                   on the grant application.She was tlllreliable with Nvork-related isstles- often
                   agreeing '
                            with Dr.G uilarte's recolum endations,regardlcss of its ethicality and
                   sblitability.She hasreinlbrced the toxic Guilarte lab environnaent. Relator liled
                   a H unAan Resourcesconaplaintin the Sunzm er2()18 and incltlded herin Relator-s
                   Title VI1and IX com plaintin D ecelnber2018.

            . F1U did not contact previous or cun-
                                                 ent G uilarte laboratory luem bers n'
                                                                                     ho
                   w itnessed G uilarte-stlnethicaleonductand reta.liation.

          308. FIU failed to fostera research environm entthatttprom otesthe responsible conduct

   of researche research training, discourages research m isconduct, and deals prom ptly w ith

                                                         60
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    allegations orevidence ofpossible research misconduct,'-as required by the Regulations(42
    C.F.R.j93.300(c),(d)and j93.412(a)).
           309. FlU allow ed Guilarte.the Dean ofPublic Health,to receivefederalfundsfrom N 1H

    grantapplicationswhileunderanofficialTitleIX investigationandresearchm isconductallegation

    (42C.F.R.j93.304(h)):t'Appropriateinterim institutionalaetionstoprotectpublichealth,Federal
    fundsand equipment,and theintegrity ofthe PHS supported research process.'' ltisunknow n if

    FIU notified theHHS OfficeofResearch lntegrity (ORl)ofthese mattersand Relator'sremoval
    from the ûtprim ary Grant.''

             . Principal lnvestigator'
                                     . (Juilarte. Pcri
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                N lEllS.

                Principal Investigator-
                                      . (Juilarte. C-holinergic i
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                               //)z'(Project #:
                NIEIIS.

                Principallnvestigator:('
                                       Juilarte./
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                                                                                   .      grofoxdcjfv'


           310. FlU allowed G uilarte to m aintain his status as principal of the FIU -RCM I

    RecruitmentCore(42C.F.R.j93.304(h))>whichûtfocusesonhiringestablishedhealthdisparities
   investigators who have existing track recordsofindependentresearch supportby N IH ...''G uilarte

   overseesthese new hires,who w illserve asm entorsto FIU -RCM Ifaeulty. The N IM H D allocates

   up to 'k$100,000 directcostsperyearforup to two yearsforeach newly hired health disparities

   investigators to augment institutional support.'' (Project//: 51754M 13012393) 07/01/2018
   06/30/2019).
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           311. FlU allowed Guilarte to enter into a $3 million eoltaboration with Colom bia's
    federalgovernm entand U niversity ofu niversidad de Côrdoba in Colom biaw hileunderan official

    researchmisconductallegationandTitleIX investigation(42C.F.R.j93.304(h)).
                   F1U allowed G uilarte to be featured in num erous m edia reports published by

    them selvesandothers.AstheDeanofpublicHealth and SocialW ork,hecontinuedto makefalse

    statementsinarticleslistedunderFact#45(42C.F.R.j93.304(h)).
           313. FlU failedtoprotectRelator(the:bcomplainant'')(42C.F.R.j93.304(1)):
           iûAl1reasonableand practicaleffol'tsto protectorrestorethe position and reputation
           of any com plainant, witness,or com m ittee m em ber and to counter potential or
           actualretaliation againstthese com plainants,w itnesses,and com m ittee m em bersi''

           314. Itisunknow n if FlU seeured R elator's41 boxesof m issing m icroscope slides and

    otherdatarelatedtothisresearchmisconductallegation (42C.F.R.j93.305(a)andj93.307(b)).
                   FlU failed to obtain other docum ents needed to conduct the ûtinquiry,'' which

   RelatorpreviouslyofferedtoORED (42 C.F.R.j93.305(a)and j93.307(b)).
           tûEither before or when the institution notifies the respondent of the allegation,
           inquiry orinvestigation,promptly take allreasonable and practicalstepsto obtain
           custody ofallthe research records and evidence needed to conductthe research
          m isconductproceeding,inventoly the records and evidence,and sequesterthem in
           a Secure m anner...35


                                             XII. CO UN TS
                                              A . C ountO ne
                                    V iolations ofthe False C laim s A ct
                                       (31U.S.f-
                                               '.j3729(a)(1)(A))
                                   Presenting False Claim sfor Paym ent
           3l6. Plaintiffincorporatesby reference paragraphs tthrough 3l6 above asiffully set

   forth herein.


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           317. TheUnited StatesseeksreliefagainstDefendantsunderSection 3729(a)(1)(A)of
    theFalse Claim sAd,31U.S.C.j3729(a)(1)(A).
           318. A ssetforth above,Defendantscertified theircom pliance w ith the N lH grantlaw s,

    rules,and regulations. Defendants,know ingly oraeting with deliberate ignoranee orw ith reekless

    disregard forthetruth,presented,orcaused tobepresented m aterially falseand fraudulentclaim s

    forpaym entorapprovalin connection w ith the subm ission ofitsrequestsforgrantm oney.

           319. The United States paid Defendants under the N IH grant program because of

    Defendants'fraudulentconduct.

           320. By reason ofthe D efendants'false claim s,the United Stateshasbeen dam aged in

    a substantialam ountto be determ ined attrial.

                                            B. CountTw o
                                  V iolations ofthe False Claim sA ct
                                     (31U.S.C.j
                                              ,3729(A)(1)(B))
                                       tlse of False Statem ents
                   Plaintiff incom orates by refkrence paragraphs 1 through 316 above as if fully set

   forth herein.

           322. TheUnitedStatesseeksreliet-againstDefendantsunderSectionj3729(a)(l)(B)of


           323. As set forth above, Defendants eertitied their com pliancc w ith the N lH grant

   program law ,rules,and regulations. Defendants,know ingly or acting in deliberate ignorance or

   in reckless disregard forthe truth,m ade,used,or caused to be m ade m aterially false records and

   statementsto getfalse orfraudulentclaim spaid orapproved by the United Statesin connection

   with the submission ofitsrequestsforNIH grantsfunds.




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           324. The United States paid sueh false orfraudulentelaim sbecause ofD etkndants'acts

    and conduct.

                    By reason ofD efendants' false elaim s,the United States has been dam aged in a

    substantialam ountto bedetermined attrial.

                                            C. CountThree
                                   V iolations ofthe False Claim s Act

                                        (31U.S.C.j
                                                 .-3729(a)(1)(C))
                         Conspiracy to f-
                                        'olnm it'
                                                V iolationsofthe False frlainlsAct
                                      tAgail1stAlIDefendants)
           326. Plaintiff incorporates by reference paragraphs 1 through 316 above as if fully set

    forth herein.

           327. TheUnited StatesseeksreliefagainstDefendantsunderSection 3729(a)(1)(C)of
   theFalseClaimsAct,31U.S.C.j3729(a)(1)(C).
                    As set forth above.D efendants conspired to eom m it a violation of subparagraph

    (A),(B),and (C)ofthe False ClainzsAct.Defendantshavecommitted atleastoneovertactin
   furtherance oftheirconspiracy.

           329. By reason ofthe D efendants'conspiracy,the United States has been dam aged in a

   substantialam ountto be determ ined attrial.


                                            D . fM
                                                 .ountFour
                              Violations ofthe FedcralFalse C laim s Act
                                        (31U.S.f.
                                                '.b 37311(H))
            R etaliation againstthe R elator in Nz
                                                 -iolation ofthe FederalFalse Claim s Act
                    Plaintiffincorporatesby reference paragraphs 1 through 316 above asiffully set

   forth herein.




                                                       64
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           33l. As a result of Relator's lawl'ul ad s in ftlrtheranee of proteeted activities in the

    reporting offraud,and Defendants'know ledge thereof,Defkndants retaliated againstRelator.

                  Defendants' retaliatory acts against Relator included failure to prom ote,

    harassment,belittling, intim idation,denying opportunities to publish, speak', and contkr w ith

    m embers of her scientific com munity,accusing Relator of ethical lapses, denying Relator of

    academ ic prom otional grow th opportunities, m arginalizing Relator, and then ultim ately

   tenninating Relator.

           333. D efendants harassed,discrim inated against.threatened. and ultim ately discharged

   R elatorbecause of law fulacts Relator undertook to stop violations ofthe False Claim sA ct and

   ultim ately denied and concealed the fraudulentand false claims made by Det-endantsto obtain

    federalgrantfunding.

           334. Defendants'retaliatory ads caused Relator to suffer, and eontinue to suffer,

   compensatory and specialdamages,including,butnotlim ited to,pastand future earnings,lost

   employmentbenefits(includinghealthinsurancebenefitsandretirementeontributionsl,job-search
   expenses,hum iliation,nzentalanguish-and em otionaldistress- allcolleetively in an am ountto be

   detenuined attrial.

                  D efendant'sactionsw ere know ing-m alicious,w illful, and with consciousdisregard

   for Relator's rights underthe law . Relatoris furtherentitled to exem plary and punitive dam ages

   in an am ountto be determ ined attrial.

   W HER EFO RE,plaintiffthe United Statesex rel.K alynda G onzales Stokes PIID ..requests that
                                                                                 .




   judgmentbeenteredintheirfavorandagainstDefendantsasfollows:




                                                      65
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           On theFirst,Seeond,and Third Claim sforrelief(Violationsofthe False ClaimsAd,31
           U.S.C.j3729(a)(l)(A)s(B),and (C))sfortrebletheUnited States'damagessinan
           amountto bedetenuined attrial,plusan $11,000 penalty foreach falseclaim ,
                                                                                   'and

           AwardingRelatorherrelators'sharepursuantto31U.S.C.j3730(d)(1)or(2).
                                                                             ,and
           On the Fourth Claim for reliefaw arding Relatorbaek pay, future pay,and benefits

           doubledpursuantto31U.S.C.3730(h);and
           On the First,Second,Third and Foul'th Claim s forRelief.an aw ard ofcosts and

           attorney'sfeespursuantto31U.S.C.j'3730(d);and
           A w arding such furtherreliefasisproper.

                                               E. CountFive
                              V iolation ofthe Title V 11 ofthc C ivilR ights Actof 1964
                                             (42I.
                                                 J.S.C.j200t)eet.
                                                                j'
                                                                 ,f/.)
                                  Discrim ination Based on G ender and Retaliation
                   Relator ineorporates by refkrenc.e paragraphs l through 316 abtw e as if fully set

   forth herein.

           336. Relatorurashired by FIU on z'
                                            Npril1.2()l6 to work asa PostdoctoralAssociate in

   G uilal-te's laboratory.

                                                                                           and retaliatory

   treatm ent by G ttilarte,w ho targeted Relator and other of his fem ale em ployees svith relentlcss

   abusive behaviordue to theirgender.

                   4lthough svorking togetherfornAore than three (3)yearsatCklltll-
                   z                                                              nbia tIniversity
                                                                                                -




   and l7IU.Guilarte'sattitude and treatmenttovxal-dsRelatordetrimentally changed atFIU in early

   2017-atthe tinAe Relatorbegan to question hisl-csearch ethics and lmotives.




                                                         66
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           339. Fornine(9#nàonthseand afternulz-
                                               lerousdisagreelzlents,Relatorurged Guilarte to

    allow Relator to reportthe laboratory's entire research l'indings to the scienti15e com naunitys not

    only the data that supported his hypothesis.A s a result,Gtlilarte began a persistelztpractice of

    harasslment,bullyingeinlim idation.and retaliation againstRelatol-,a behaviol-colzumonly directed

    athis feluale elnploy'
                         ees.

           340. W rithin his departm ent of l:
                                             -I.IS at 171U,(Jtlilarte solely invited lnale scientists for
                                             7

    interviews for upper level acadennic ptlsitions- and preferentially hired lnale scientists for

    independentProfessorroles.Nvhile hiring nrol
                                               uen into adlninistrative roles.

                   Since G uilarte-s startatFIIJin 2()16 asDean 01-Publie Health and SocialB'
                                              .                                             rork.at

    leastfour(4)femaleadlninistrativeassistmltsl-
                                                ron)hisoff-
                                                          icehave lettthcirpositionsbecauseof
    his abusive supervision. Nlultiple otlzers hav'
                                                  e luade clear that Guilarte btlllied his fbluale

    em ployees.

           342. q 'ithin his laboratory,G uilarte used Relator-s research ideas forhis osvn personal

   gain via g'
             rantapplieations and scientificpublications,w ithoutgiving Relatorpropercredit, and/or

   he nAinim ized and excluded Relator's ideas.G uilal-te-s self-serving behavior decreased Relator-s

   opporttlnitiesforindepcndentresearch fttnding and eareeradvancem ent.

                   G uilarte enabled a toxic svork environl-
                                                           nent for Relator and other fblnale 1ab

   m em bers by allowing his long-tilme laboratory m anagerto severely bully them ;and placing svork

   conflictson them to handle am ongstthem selves.

           344. Including Relator.Guilartehadsixteen(16)previousfemalepostdoctoralscientists-

   none ()1-which progressed into aeadem ia, in opposition to the ïive (5) males. AlI lkmale
   postdoctoralscientists,including Relatoroeitherlet'tscience oraecepted alowerlevelposition.




                                                        ()
                                                         --
                                                          ;,
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           345. D uring her tinle at FIt.
                                        ro Relator w.as ('1tlilarte-s l'
                                                                       na1
                                                                         -14 target of abuse having

    suffered excessive criticism and insults,tmpredictable anger and yelling. the lninilnization ofher

    research ideasand findings-and relentless bullqring and htlnziliation. G uilarte would nottreatm ale

    m embersofhislaboralory in the sam em atter.

           346. '
                W'ith regtllarity,G tlilal
                                         'te presented these abusive behaviors tosvarklRelatorboth in

    private interaetionsand weekty grottp m eetings.G uilartealso im peded productive and professional

    interactionsaboutRelator's Nvork product.qrhen Relatorpresented herresearch lsndings during

    laboratory group nleetings.(iuilarte reverted to tauntillg and belittling her ideas and doxvnplaying

    data thatconllicted with his opinions. H is abuse progressively w orsened to the point Relatol'

    declined ful-therpresentation ofherresearch il)group m eetings.

           347. Guilarte'spublic display ofhostility towardsRelatordamaged herreptltatilln asa

    scientist.placed Relatorin a constantstate ofdistresssand intertkrcd svith herprodtlctivity.

           348. Guilarte believed thathe could InistreatRelatorand otherfenlale nzelnbersofhis

    laboratory sim ply based on gender.

                   H owever, G uilarte-s behavior towrards Relator vvent beyond bullying

    harassm ent.G uilarte also retaliated against Relator follow ing her refusal to com ply w ith his

    dem ands to rem ove data from herresearch. ,
                                               $k?c..
                                                    s'//
                                                       #rt'
                                                          ?. Specif'
                                                                   ically,G tlilarte retaliated against

    Rclator by isolating her-blocking her conlnlunication nrith fellosv scientists, and hilnself-about

   herresearch plrjects.
           350. Guilarte also took directactiollto im pede Relator-scareer. A postdoctoralposition

   isa mechanism foradvancementas a scientific researcherand a steppingstone tbrprom otion to

   professorship. Itis customary thatto advance in academ ia-a postdoctoralscientist11:11st be a
                                                                                               .




   productive researcher dem onstrated by publishing scientilic articles- receiving grantm onies-and



                                                        68
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    obtaining a vastcareernetNvork in the scientilê
                                                  ic colmlutlllity.G uilal-te repeatedly bloeked Itelator's

    attem pts to publish her research in an ethicalnaanner,access grantapplications in w'hich Relator

    had a signif-
                icant role- and attend seientif'
                                               ic conferences to present and receive lkedback on

    Relator's findings.

           35l. FurthereGuilarte intentionally m isguided Relator abouther careeradvancem entto

    Research A ssistantProfessoratl7llJ.(luilarte wusdeeeitfulto m aniptllate Relatorillto perform ing

    unnecessary,repetitive anim alexperim ents.tlnethically fishing for results thatw otlld supporthis

    hypothesis.(Juilarte Iied and misled Relatorforten (1())l
                                                            months,giving Relatorfalse contidellce

    in hernextcareerstep and independence from herabuser.

           352. ln early 2019,Relator'sphysician recom m ended thatshe take leave purstlantto the

    FamilyM edicalandLeaveAct(-:FN41.
                                    -A'-)becauseofherworseningphysicalandlnentalcondition
    due to G uilarte's abtlse. Nvithin the first nreek 0f her leaven Guila14e retaliated w ith a false

    accusation againstRelatorto FllJ-accusing herofentsing and stealing researeh data.

                   A fter three naonths leave. FIU placed Relator on paid adlninistrative Ieave until
                                                              .




    Ylareh 2019.During this tilne,Relatorlmet.Nvith FIl.r'sTitle IX olh
                                                                      ficert()reportG uilarte-sgender

   discrinAination and harassm entp along '
                                          w ith his research m iscollduct. l7ltJ took no action.even

    though other staff m enabers under G tlilal-te-s supervision               f-
                                                                                iled grievances.

   adlninistration and the -l'itle IX ofl-
                                         icerfailed to infon-n Relatorabotltthc outconle ofhergood faith

   allegations and to provide RelatorNvith a sulzzlnary o1-their f'
                                                                  indings.l'
                                                                           Jltq-s linalresponse uras to

   terlninate Relator's em ploynaent in Nlarch 2()l9.ISILJ determ ined they had no place for Relator

   al-
     terhertbactions.''

                   l$
                    -lLJhasnotcorrected Guilarte'sabusive behaviorasreportsofitscontinuance has

    surfaeed.FIU is,therefore,protecting G uilal-te and allow ing l4ilu to eontinue hisharassnzentand



                                                         69
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    discrim ination againstotherfel-nale em ployees.Ftlrthel-l-nore-Flli-sprotective behavioratlow's for
                                                                      .




   theircontinued receiptofsignificantgrantfunding (i.e..n)i11ionsofdollars)brotlghtinby Guilarte.

           355. ItelatorA'
                         &.
                          'as harassed.hulmiliated,and discrinlillated againstby G uilarte and FIIJ.  ..




    beeause Relatorwasin a position oflimited authority asafcmalc jtmiorscientist.Relatorwas
    autolnaticatly suspectableto the detrilmentaloutconpesofa eorrupthierarchy.and G uilarteand Flt)l

    wrongly took advantage of Relator'disposition.s/loreover.lJlL.
                                                                 ,and Guilarte retaliated against
                                                                 1

    RelatortothepointRelatorIostIzerjobandacadelniceareel-.
           356. A s a result of (luilarte's and 171tl's abtlsive al'd discrinlinatory behavior,Relator

    has leftacadelnia due to diflsculty l'inding a place thatw'illacceptthe career --l-ed flags''im posed

    on herby Guilarte and Fltl.Relatorhasendured greatpain and sorl-ow frolu hisabuse and the loss

    01:heracadelnic career.because F1lJ'refused to hold G uilarte resptlnsible forhis genderabuse.

           357. 'l-he foregoing facts and cireum stances dennonstrate that FILland (iuilarte have
                                                                                           -




    violated Title V 1lofthe CivilRightsyNctof 1964,as aluended,by discrinlinating againstRelator

    n'ith respectto the ternzs orconditionsofherelmployl
                                                       -rlentbecause ofhersex.

                   Fl'
                     u and its agentsand el-
                                           nployees,and G tlilarte,knew'.t)l-should have knovvn-that

   the above-referenced actionsw ere discrim inatol'
                                                   y and violated 'I-itle V 11ofthe CivitRights Ad of

    1964-as am ended.N evertheless-Fllland its agents-and Cluilarte,aeted w'illfully-intentionallye
                                         -.




    and in reck-lessdisregard forthe rightsofRelator.

                   A.sadirectand proxilnate resultofthe actionsofFIIJand itsagentsand em ployees-
                                                                          .




   and Guilarte, Relator has suffered m ental anguish. physical discolnfort. pain and suffering,

   hulniliation-and elnbarrassm ent.Ftlrtherm ore,Relator hasand w'
                                                                  illeontinue to stlffer lostNvages.

           360. Nloreover, Relator has suffered a diluinished ability to earn a living and a

   diminishedeapaeitytoenjoyherlife.Relatorhasand/brmay haveto incurexpensesfornnedical,


                                                         7()
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    psyehiatrie,and/orpsyehologicalcounseling anûleare.Relator's dam ages have been experieneed

    in the past.and they Nvillcontintle into the future.

                    A llconditions precedentto bl-inging this action have occurred.

                    Plaintiff tim ely filed a Charge of lniscrim ination w ith the Il
                                                                                    g
                                                                                    lqtlal Iq
                                                                                            lm ploym cnt

    Opportunity'Colnnlission (--1-)L'()C'')ankltheFloridaConunission 01-
                                                                       1l-ltlnlanltelations(tLFCHR--).
                                                                             '
           363. A notification of Rightto Stle '
                                               w as received frol'
                                                                 n the ElC
                                                                         '-(
                                                                           )C.This Colmplainthas
                                                                             .




    been t-
          iled withinninety (9.0)daysofreceiptthereof.
           W lè11:
                 7R1:717
                       '0 R17 Rclatordenlalldsdam ages t-
                                                        orlostNvagesand benefits.back paysfrontpa),
                                                                                                  '.

    darnagesforhulniliation,lossofcapacity to eqjoy life-luentaland enzotitlnaldistress,physical
    discomfort,compensatory damages,punitivedamages,interest- includingpre-judgmenlintm'est
   on lostwages,costsand attorney-s fees.and such otherreliefas thisCourtdeem s appropriate.

                                               F. fN
                                                   -ountSix
                               V iolation ofthe Florida C ivilRightsA ctof 1992
                                         (FloridaStatutes,j760et.
                                                                :tv/.)
                                Discrim ination Bascd on G tm der and Retaliation
           364. Relator incorporates by reference paragraphs l throttgh 316 above as if fully set

    forth herein.



   û'iuilartefs laboratory.

           366. R'
                 rhile urorking at I7lU . Relator vvas the victin: of discrilninatory and retaliatory

   treatm ent by GuiIarte,w ht)tftrgeted Relator and other of his fenlale el-
                                                                            nployees Nvith relentless

   abusive behaviordue to their gendel'.
Case 1:19-cv-25193-DPG Document 1 Entered on FLSD Docket 12/18/2019 Page 72 of 81




           367. Although w-orking togethertbrluore than three (3Jyears atColum bia University
    and IL'IU .C'
                iuilarte-s attittlde and treatnlenttowurds Relator detrinAentally changed at171Ulin early

    20l7,atthe tinAe Relatorbegan to questitpn hisresearch ethics and l'
                                                                       notives.

                   1701-nine (9)m onthssand al-
                                              ti
                                               zrnumerousdisagrecments.Relatorurged Guilarte to

    allovv Relator to reportthe laboratory-s entire research Gndings to the scientifie colnl-
                                                                                            ntlnity, not

    only the data that supported his hypothesis.As a result,G uilarte began a persistentpraetiee of

    harassm ent,bullying,intim idation-and retaliation againstRelator.a behaviorctlnllmtlnll'direeted

   athisfem ale elnployecs.



    interview s for upper level academ ic positions, and preferentially hired m ale scielltists

    independentProfkssorroles,svhile hiring wom en into adm inistrative roles.

                   Since Guilarte-sstartatl7lt.
                                              Jin 2016 as Dean ofPtlblic l1e:11th and Socialq'orke at

    leastlbur(4)felmale adlninistrative assistantsfion'lllisollice have lel-
                                                                           ttheirpositionsbecause 0'
                                                                                                   17
        abusive supervision. M ultiple otbel-s have l
                                                    'nadc clear that (Juilarte bullied his fem ale

   enzployees.

                   q'
                    rithin his laboratory-Guilarte used Relator-sresearc.
                                                                        h ideas for his osvn personat

   gain via grantapplieationsand seientilsc publieations,svithoutgiving Relatorpropercredit, and/01-

   he n'
       finin-
            lized and excltlded Relator's ideas.Gtlilarte-s self-serving behaviordecreased Relator's

   oppol-tunities for independentreseareh funding and eareeradvancem ent.

                   Guilarte enabled a toxic w ork environm ent for Relalor and other fem ale lab

   nlelnbers by allosving his Iong-tim e Iaboratory nlanagerto severely btllly thenl'
                                                                                    - and pl
                                                                                           acing work

   contlictson thcm to halldlealnongstthemselves.
Case 1:19-cv-25193-DPG Document 1 Entered on FLSD Docket 12/18/2019 Page 73 of 81




           373. lncludingRelator-(èiuilartehadsixteen(16)previousfttlnalepostdoctoralscientists,
    none of which pl-ogressed into acadel-
                                         nia, in opposition to the five (5) lmales. -A11 female
    postdoctoralscientists-ineluding Relator,either let'tscience oraecepted :1lowerlevelposition    .




                   D uring                                                           of abusep having

    suffered exeessive criticism and instllts.unpredictable angerand yelling. the lninilriization ofher

    research ideas and tindings.and relentless bullying and hul-niliation. Guilarte svould nottreatnAale

    lnem bers ofhis laboratory in the sam e m atter.

                   q'
                    -ith rcgtllaritys('
                                      itlilarte presented these abusive behaviors tosvard Relatorboth in

    privateinteractionsand weekly group lueetings.G uilartealso im peded produetiveand prolkssional

    interactions about Relator's work produet.q/hen Relatorpresented her research t'indings during

    laboratory group lneetings,G tlilarte revel-ted tk7taunting and belittling herideas and downplaying

    data that conflicted with his opillions. Ilis abuse progressively w orsened to the point Relator

    declined furtherpresentation ofherreseareh in group m eetings.

                   Guilal
                        -te's publie display of hostility tow ards Relatordam aged herreputation asa

    scientistnplaeed Relatorin a constantstate ofdistress-and interlbred vvith herprodtlctivity.

           377. û'
                 luilarte believed thathe cotlld luistrcatRelator and other feluale lnembers ofhis

    laboratory sim ply based (Jn gender.

                   llo'
                      w evel-, Guilarte's behavior tow ards Relator w ent beyond btlllying and

   harassm ent. G uilarte also retaliated against Relator folloNving her rtrfusal to colmply Nvith his

   denaands to renaove data from her research. See .
                                                   s,z/
                                                      77r4/. Specifical1,..(Juilarte retaliated against

   Relator by isolating her,blocking her com nlunication u ith fkllow scientists,and hinlself, abotlt

   herresearchproiects.
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           379. G tlilarte also took directaetion to inzpede Relator-scareer. Z'
                                                                               N postdoetoralposition

    is a m echanism foradvancem entas a scientit'
                                                ie researcher and a steppingstone forprom otion to

    professorship. lt is custonaary that to advance in acadelnia-a postdoctoralseientist nzust be a

    pl'odud ive researchel'dcm onstrated by put
                                              nlishing seientitic al-ticlcs. rcceiving grantm onies.and

    obtaining a vastcareernetwork in the seientilic,com lutm ity.(iuilarte repeatedly bloeked Relator's

    attem pts to publish her researcll in an ethicalnlanner.access grantapplications in w hich Relator

    had a signif-
                icant role- and attend scientilic conlkrenees to present and l-
                                                                              eceive feedback on

    Relator-s findings.

           380. Furthel-,G uilarte intentionally nlisguided Relator abouthercareer atlvaneel-
                                                                                            nentto

    Reseal-ch A ssistantProfessoratl:
                                    7IU .Guilarte w asdeecitfulto m anipttlate Rclatorinto perform ing

    unnecessary,repetitive aninzalexperim ents,unethically fishing lbrresults thatwotlld supporthis

    hypothesis.Guilarte 1ied and misled Relatorforten (l())months,giving Relatorfalse confidence
    in hernextcareerstep and independence from hel-abuser.

                   ln early 2019,Relator'sphysician recom m ended thatshe take leave ptlrsuantto the

    FanlilyYledicalandLeavezz
                            kct(b&l7N,
                                     1L,
                                       /N
                                        .'-)becauseofherNvorseningphysicalandnzentalcondition
    due to G uilarte's abuse. W rithin the tsrst Nveek o1-her leave, (ltlilal
                                                                            4e retaliated xvith a false

    accusation againstRelatorto 1711,1. aecusing laeroi-erasing and stea
                                    .                                  .ling research data.

                   A ftcr thl-
                             ee lmonths leave-lzltJ placed Relator on paid adnAinistl-ative leave until

   Nfazvh 2019.D uring thistilue,Relatorm et'
                                            w ith l$
                                                   -lt-
                                                      T's Titte IX offieerto reportG uilal-te-sgender

   discrinAination and harassl
                             n cnt,along w ith llis research m isconduct l7lU took 1)o action.even
                                                                          .




   thotlgh other staff m enAbers under G tlilal4e-s supervision also tiled grievances.

   adlninistration and the'l'itle IX oftscerfailed to inform Relatorabouttheoutcom e ofhergood faith

   allegations and to provide Relatorw ith a sulzu-
                                                  nary oftheir fsndings.FILJ-s tinalresponse '
                                                                                             w asto
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    tenninate Relator-s enlploynzent in N'
                                         larch 20l9.Flt-fdeterm ined they had no place 1:
                                                                                        01-Relator

    afterher-taetions.''

           383. FlU hasnotcorred ed G uitarte-s abusive behaN'ioras reports ofitscontinuance has

    surfaced.FIU is,thel
                       -efore,protecting G uilm-
                                               te and allow ing hinèto continuc his harassnaentand

    diserim ination againstotherfem ale enzployees.Furtherlnore-FIt1,-sprotectisze behaviorallow's 1br
                                                                     .




    theircontinued receiptofsignificantgrantfunding (i.e.-n4i11ionsofdollars)broughtin by (luilarte.
           384. Relator wus harassed.hulmiliated,and discrinlinated againstby GuiIarte and FllJ-     .




   becatlse Relator svas in a position of-liluited authority as :1 fenlale J
                                                                          .
                                                                           'uniorscientist.Relatoruras

    autol-natically suspeetableto the detril-
                                            nentalouteom esofa eorrupthierarchy.and Guilarteand FIU.

    w rongly took advantage of Relator-disposition.M oreover.l7ltJ and Gttilarte retaliated against

    RelatortothepointRelatorlostherjobandaeadel
                                              niccareer.
           385. A s a result of (-
                                 luilarte-s and 171U 5s abusive and discrinlinatol'
                                                                                  y bchavior,Relator

    has leftacadem ia dtle to difticulty t'
                                          inding a place thatw'illacceptthe career --red tlags-'il-
                                                                                                  nposed

    on herby Guilarte and IJIU .Relatorlnasendtwed greatpain and sorrow froln hisabuse and tl4e loss

    ofheracademiccareer-because Fll..
                                    lreftlsed to holklGuilarteresponsible lbrhisgenderabuse.

           386. -l'
                  he foregoing facts and circum stallces demollstrate that 1711.3and Guilarte have

    violated the Florida C ivilR ightsA eto1-1992 by diserinzinating agaillstItelatorn'ith respectto the

   term sorconditions ofhercluploym entbecause ofhersex.

           387. FIU and itsagentsand em ployees,and G tlilarte,knew.orshould have knovvn-that

   the above-referenced actions Nvere discrim inatory 2
                                                      1nd violated the l'lorida CivilR ights A ct of

    1992.N evertheless,FIU and itsagents.and Gtlilarte.acted w illfully,intentionally,and in reckless

   disregard forthe rightsof Relator.
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           388. A.sa directand pl-oxinlate result(Jftheactions01-1--1t.
                                                                      Tand itsagentsand elnployees.

    and G'uilartee Relator has suffered naental anguish. physical clisconlfort. pain and suffering.

    hunliliation.and enzbarrassn-
                                lent.Ful
                                       -thernzore,Relatorhasand y;
                                                                 $,
                                                                  '
                                                                  illcontinue to suffkrlostw'ages.

                   M oreover, Relator has suffered a dim inished ability to earn a living and a

    diminished capacityto enjoy herlil'
                                      è.Itelattlrhasand/orluayhavetoinctlrexpensesfbrnzedical.
    psychiatric,and/orpsychologicalcounseling and care.Relator-s dam ages have been experienced

    in the past-and they w illcontinue into the future.

                   A lIconditionsprecedcntto bringing thisaction have occurred.

                   Plaintif'
                           f tinlely liled a Charge
                                                  . O.
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                                                     *(j.
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                                                        jl
                                                         *scrl
                                                             'lnl
                                                                *nlttl
                                                                     *tln vvith the Equal Em ploym ent

    Oppol-tunity Con-lnzission(tûIt'EOC'*)andthe FloridaConlnlissiononLlunlan Relations(itISCl.
                                                                                              1R--)

           392. A- notilication ofR ightto Sue w'as reeeived frolu the EEOC .This Colnplainthas

    been filed w-ithinninety (90)daysofreceiptthereof.

           V TH EREFO RE,Relatordem andsdam ages tk)l'lostw agesand benefits,back'pay,frontpay.

    dal-
       nagesforhunliliation.Iossofcapacity to enjoy life,nlentaland emotiollaldistress.physical
    disconafort,conlpensatory dalnages,punitivedalnages.interest-inclukling pre-judgnzentinterest
    on lostNvages.costsand attorney-sfees.and such otherreliefas thisf.
                                                                      A
                                                                      .oul4 deem s appropriate.

                                    JU RY TRIA L IS DE M AN D ED
Case 1:19-cv-25193-DPG Document 1 Entered on FLSD Docket 12/18/2019 Page 77 of 81




         Dated: D ecem ber l8.20 19           Respectfully subm itted,


                                              l()N A'I-HAN S.M IN ICK-PA



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                                          X IlI. APPEN D IX

    DEFINITIONS (listed in alpllabetiealorderl:
          A cetvlcholine:a neurotransm itterorchem icalin the brain
          Ahheim er'sdisease (AD):an irreversible,progressivebrain disorderthatslowly destroys
          m em ory and thinking skillssand eventually the ability to carry outthe sim plesttasks. ltis
          the cause of60-70% ofcases ofdem entia.
          A m phetam ine:a drug thatactivatesthe dopam inergic brain system
          C holinerzic:l'efersto a cellorbrain system thatcontainstheneurotransm itteracetyleholine
          Cholineacetvltransferase(ChAT):the synthesizing enzymeforacetylcholine,which can
          be used to visualize acetylcholine/cholinergic cells in the brain
      * C orrespon dinz author:thisindividualis ''usually the seniorauthor w/lo is rep
          --        -                                                                %pllnv
                                                                                          %ible tl
                                                                                                 lr.


          the manuscript correction, #ro:?/-reading, u,
                                                      '/lo/c corre.bpondence during the paper
          submission,handling the revisions and re-submission (?frevised nlanuscripts up to the
          acceptanceofthemanuscripts.Thisistheusualpracticeinmostcases.''
       . D opam ine:a neurotransm itterorchem icalin the brain
      * Dopam inerzic:refersto a cellorbrain system thatcontainsthe neurotransm itterdopam ine
       . Falsification: ''m anipulating research materials equipm ent,(prprocesse.
                                                                                 %, or changing or
          omitting data or resultssuch thatthe researc'h isnotaccurately represented in theresearch
          record''(Sec.93.103Researchmisconductin42CFR Pal't93PublicHealthService,Public
          healthservieepolieiesonresearchmisconduct)
      w Fabrication:m aking updataorresultsand recording orreporting them .
      . Falsification: m anipulating research m aterials.equipm ent.or processes, or changing or
          om itting data orresults such thatthe research isnotaccurately represented in the research
          record.
      . lm m unohistochem istrv or Im m unostaininz or Im m unolabelinz: uses the antibody-
          antigen binding principle ofthe im m une system to visualize proteins located in brain cells.
          ForRelator'sstudiesdiscussedhere,thebraincellsofthestriatum (thecholinergicneurons)
          andSNpc(thedopaminergicneurons)werelabeledwithabrownishredcolor.
      * lnstitutionalNationalResearch ServiceAward (1-32 NRSA):an NlH federalgrantthat
          idprovidesindividualresearchtrainingopportunities(including international)totraineesat
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         the undergraduate, graduate.and postdoctoral levels''and i.enables institutions to recruit
         individuals selected by the program leadership forpredoctoraland/orpostdoctoralresearch
         training in specified scientific areas''
         (I
          nttps-
               '//l-esearclltl
                             -Clillill.
                                      e-nill.m
                                             ('()N','l
                                                     nl-()>
                                                          orams/tl-aining-,
                                                                          q>rants,'-l'
                                                                                     32).
      . K ev Personnel: ûû-l'he PD /PI and other individuals w ho contribute to the scientific
         developmentorexecution ofaprojectin a substantive,measurableway to thescientific
         development or execution of the project, whether or not they receive salaries or
         compensation underthe grant.i.e.,theirabsencefrom the projectwould beexpected to
         impacttheapproved scope oftheproject.Consultantsandthosewith apostdoctoralrole
         also m ay be considered senior/key personnel                            they m eet this detinition.''
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                                                                                   nl
      * M anaanese (M n): a naturaltrace elem ent required for physiological processes in the
         hum an body and brain.M edicalproblem s occur ifthe body has insufticient orexcessive
         levelsofm anganese.M anganese hasm any industrialuses, particularly in stainlesssteeland
         alum inum alloy production.butalso used asan additive in unleaded gasoline, apigm entfor
         the coloring ofceram icsand glass,and an electron acceptorofzinc used in batteries.
      . M anaanese-induced parkinsonism :a parkinsonian-like disorderinstigated by m anganese
         toxicity;also referred to as iim anganism -''
      . N aïve C ontrol:an anim althathas notundergone any experim entaltesting orexposure to
         toxicants
      * Neurom elanin (NM ):apigmentfound to co-existin dopaminecellsofthesubstantianigra
         pars com pacta region ofthe prim ate brain
      w N europatholoa :the study ofdiseases of the nervous system ,and typically includes the
         laboratory analysis oftissue sam ples forpersonalized diagnosis orforensic investigations
      . Non-hum an Prim ates(NH Ps):monkeys
      . Nucleus Basalis of M evnert(NBM ):a region ofthe brain enriched with neurons that
         contain the neurochem icalneuronsare enriched in acetylcholine'
                                                                       ,consistsofm ultiple nuclei
         orbrain structures
      * Parkinson's disease (PD): a neurodegenerative disorder that affects predom inately
         dopamine-producing (ttdopaminergic'')neuronsin aspecific areaofthe brain called the
         substantia nigra parscom pacta.Sym ptom sgenerally develop slow ly overyears.
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         Parkinsonism : a term used to describe the collection of signs and sym ptom s found in
         Parkinson'sdisease(PD).Theseincludeslowness(bradykinesia),stiffbess(rigidity),tremor
         and imbalance(posturalinstability).Conditionsotherthan PD may haveoneormoreof
         these sym ptom s,m im icking Parkinson's.
         Plaziarism :the appropriation ofanotherperson'sideas,proeesses,results, orw ordsw ithout
         giving appropriate credit.
         PostdoctoralScientist(postdoc):a scientistprofessionally conducting research afterthe
         completion of their doetoralstudies (i.e.,a PIA.D.degree) under the supervision of a
         m entor/adviserwho isthePrincipallnvestigatoroftheirworkplace laboratory
      . PrincipalInvestieator (P.I.):aPh.D.-holding scientistwho isthe directorofhis/herown
         laboratoryand/ortheProjectLeaderforanNlH grant
      * Research ProiectG rant(R01):isanNIH federalgrantthatsupportsitadiscrete,specified,
                        .



         circumscribedprojecttobeperformedbythenamed investigatorts)in anarearepresenting
         the investigator's specific interest and com petencies,based on the m ission of the N lH -'
         (https://grants.nih.s
                             zos?/.
                                  flrants/l-
                                           unding/rt)l.ht1)A).
      . R etaliation: occurs w hen an em ployer punishes an em ployee for engaging in legally
         protected activity, such as m aking an allegation of harassm ent or participating in an
         administrativeinquiry.Retaliationcan includeany negativejob actionesuchasdemotion,
         discipline,firing,salaryreduction,orjob orshiftreassignment.Butretaliation canalsobe
         subtler.
      * Selective Reportine: when an individual presents biased inform ation by not
         acknow ledging contlicting evidence and alternative interpretations.
      . Stereolozv:a rigorousm ethod used to countthe num berofcells in an unbiased m anner
      . StriatalC holincraic neurons:specialized cellsthatcontain acetylcholineand residew ithin
         the striatum
      . Striatum :itstriatal,''a partofthe brain involved w ith m ovem entand cognitive processes
      . Substantia nizra parscom pacta (SNpc):tûnigra''orl'nigral'- apartofthebrain involved
         w ith m ovem ent and cognitive processes. M ain brain region negatively affkcted in
         Parkinson'sdisease.
      . Tyrosine hvdroxylase (TH):a precursorenzym e forthe synthesis ofdopamine'
                                                                                ,used to
         visualize brain cellsthatcontain dopam ine


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         N IH -N IM H D Specialized Centers of Excellence on M inority H ealth and H ealth
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         Disparities- cooperative Aureem ents (U54): an NlH federalgrantfrom the National
         lnstituteofMinoritiesHealth and Health Disparities(NIM HD)thatsupportsû'anypartof
         the fullrange ofresearch and developm entfrom very basic to clinical;m ay involveancillary
         supportive activities such as protracted patientcare necessary to the prim ary research or
         R& D effol't.The spectrum of activities com prises a m ultidisciplinary attack on a specific
         diseaseentity orbiomedicalproblem area.Thesedifferfrom program projectinthatthey
         are usually developed in response to an announcem ent of the program m atic needs of an
         lnstitute orDivision and subsequently receive continuousattention from itsstaff.Centers
         m ay also serve asregionalornationalresourcesforspecialresearch purposes, w ith funding
         com ponentstaffhelping to identify appropriate priority needs.'e
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